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      Report on Identification Number Requirements for Mail Balloting under SB 1


                           La Unión del Pueblo Entero v. Texas


              United States District Court for the Western District of Texas




___________________
Eitan Hersh
Associate Professor
Department of Political Science
Tufts University
Medford, MA

February 28, 2022
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I.       Abstract

      1. In Senate Bill 1 (“SB 1”), Texas imposes new identification verification rules when

         registered voters choose to cast ballots by mail. As I will demonstrate, more than 1 in

         7 Texans can submit a ballot application – as well as a ballot itself – in perfect

         accordance with the state’s instructions under SB 1, and yet Texas election officials

         must still reject the voters’ forms. Officials must reject the voters’ forms because

         Texas’s voter registration database does not contain the information necessary for

         election officials to accurately confirm the identity of millions of Texans who possess

         proper identification numbers. SB 1 delays and/or prevents citizens from casting

         ballots who follow the state’s instructions and are eligible to vote by mail.

II.      Summary of Inquiry

      2. For Texas voters who understand the mail ballot instructions and correctly fill out the

         state’s mail ballot forms in accordance with the rules set forth by SB 1, how many of

         them could have their forms rejected due to the state’s inability to confirm the voters’

         identification numbers? I answer this question by merging personal information

         contained in Texas’s voter registration database with information contained in

         Texas’s Department of Public Safety (DPS) records. Through comparing records of

         identification numbers, including driver’s licenses and other DPS ID Numbers as well

         as social security numbers, I have found that over 2.6 million Texans can accurately

         and completely fill out government forms in accordance with SB 1 and with the

         forms’ instructions, and their forms would still be rejected by Texas election officials.

         Included in this number are hundreds of thousands of senior citizens (65 and older),




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             disabled veterans, homebound citizens, and overseas citizens (including some at

             military addresses), populations that are most likely to make use of mail balloting.

         3. According to SB 1, a registered voter applying for a mail ballot must now include

             “the number of the applicant’s driver’s license, election identification certificate, or

             personal identification card issued by the Department of Public Safety” (“DPS ID

             Number”). If a registrant “has not been issued” a DPS ID Number, then he or she

             must include in his/her mail ballot application “the last four digits of the applicant’s

             social security number” (“SSN4”). When submitting a completed ballot by mail,

             registrants must again provide a DPS ID Number or, if they do not have a DPS ID

             Number, their SSN4.

         4. When Texas election officials receive a mail ballot application, or when they receive

             a completed mail ballot, the officials must compare the DPS ID Number or SSN4

             listed by the registrant with the official records in the voter registration database. The

             Texas voter registration database, also known as Texas Election Administration

             Management system (“TEAM”), lists a DPS ID Number and/or an SSN4 for most

             voters. If the voter does not provide an identification number that is listed on TEAM,

             “the clerk shall reject the application.” 1

         5. I have determined three main reasons why correctly filled-out forms that are required

             by Texas under SB 1 would be rejected by election officials:



1
  Note that election officials do not confirm mail ballot applicants’ DPS ID Numbers by looking up those numbers
on a DPS database. According to the state’s guidelines, election officials are to “check the voter’s application for
ballot by mail and the carrier envelope to be sure that the number of the voter’s driver’s license, election
identification certificate, or personal identification card issued by the DPS is included and is associated with the
voter’s registration record (my emphasis).” In other words, if a voter has a valid DPS ID but it happens not to be
associated with the registration record in TEAM, election officials must reject the voter’s mail ballot forms. See:
“Early Voting Ballot Board & Signature Verification Committee, Handbook for Election Judges and Clerks 2022,”
Office of the Texas Secretary of State, page 14.


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             a. Reason #1: Millions of Texans have multiple DPS ID Numbers. Many have both

                 a personal identification number and a driver’s license number. Some have

                 multiple driver’s license numbers. According to SB 1 requirements, voters may

                 list on their mail ballot applications any of their DPS ID Numbers, including

                 expired ones. However, the TEAM voter registration database shows only one

                 DPS ID Number for each voter. If the voter uses a DPS ID Number on his or her

                 mail ballot application but it is not the same number listed in TEAM, SB 1

                 requires election officials to reject the application.

             b. Reason #2: Hundreds of thousands of Texans are listed in TEAM without a DPS

                 ID Number at all. These voters tend to be older. Almost half are over 65 and may,

                 by law, request an absentee ballot without offering any reason. As I show below,

                 the majority of these individuals do, in fact, have DPS ID Numbers. If they

                 submit a mail ballot application or mail ballot with their DPS ID Number listed,

                 as they are instructed to do by Texas’s updated application form, SB 1 requires

                 clerks to reject their materials.

             c. Reason #3: Tens of thousands of Texans are listed in TEAM with SSN4s and DPS

                 ID Numbers that have typographical errors in them. (As Texas is one of only

                 eight states that has not adopted online voter registration, Texas may have more

                 citizens registering to vote using paper forms than is typical elsewhere in the

                 country, which can lead to transcription errors when the information is entered

                 into a computer system. 2) When voters who are listed with typographical errors in

                 their ID numbers submit a mail ballot form with their proper SSN4 or DPS ID


2
 National Conference of State Legislatures, “Online Voter Registration,” July 26, 2021,
https://www ncsl.org/research/elections-and-campaigns/electronic-or-online-voter-registration.aspx.


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                  Number, SB 1 requires election officials to reject these forms on account of

                  inaccurate record-keeping in Texas government records.

         6. These are not the only reasons that Texas election officials will reject mail ballots and

             ballot applications as a result of SB 1’s identification requirements for absentee

             balloting. There are other reasons that are beyond the scope of this analysis but could

             cause additional Texans to have mail ballot forms rejected by state election officials.

             For instance, applicants might accidentally include a typographical error when

             writing down their DPS ID Number or their SSN4 on their mail ballot forms. A

             separate analysis would be required to estimate how many mail ballot forms might be

             rejected for this reason. Applicants might also have lost, misplaced, or surrendered

             their license or other DPS ID card and therefore cannot complete the mail application

             form required by SB 1. A separate analysis would be required to estimate how many

             forms might be rejected for this reason. 3 Setting aside these other possibilities, the

             three reasons stated above affect over 2.6 million Texans, according to my analysis.

             These Texans possess an identification number required by SB 1 and can properly fill

             out mail ballot application forms and, nevertheless, SB 1 will require election

             officials to reject their forms.

         7. SB 1 essentially asks 1 in 7 registered voters to be lucky in order to cast a mail ballot

             without their application or ballot being rejected: the voters must guess correctly

             which one of several possible identification numbers are listed on TEAM, and they




3
  There is a field on the DPS database related to “card status” that could possibly be used to count the number of
individuals who have DPS ID Numbers but they do not have access to their ID cards, for instance because they
surrendered the cards. If license status information was made available to me, I could provide a supplementary
analysis of these records.


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          must hope that TEAM records do not contain typographical errors on their individual

          records.

III.      Background and Qualifications

       8. I am a tenured associate professor of political science at Tufts University in Medford,

          Massachusetts. I joined the faculty at Tufts in July 2017. Prior to that, I was an

          assistant professor and a resident fellow of the Institution for Social and Policy

          Studies at Yale University in New Haven, Connecticut. I joined the faculty at Yale in

          2011. I received my PhD in government from Harvard University in 2011.

       9. In addition to my appointment in the Department of Political Science, I currently have

          two other affiliations. I serve as an Associate Professor of Civic Studies at the Tisch

          College for Civic Life, also at Tufts University. And, during the 2022 calendar year, I

          have an affiliation as an Emerson Collective Fellow in the Emerson Collective’s

          Democracy Cohort. Through the Emerson Collective, I am engaging in research on

          the civic role of business leaders.

       10. My scholarly research focuses on U.S. elections, on topics such as voter behavior,

          civic engagement, election administration, and political campaigns. My

          methodological focus is on using individual-level data such as voter registration

          records to study politics. Publications that specifically include analysis of individual-

          level voter registration data include, among others, Hacking the Electorate

          (Cambridge University Press, 2015); “ADGN: An Algorithm for Record Linkage

          Using Address, Date of Birth, Gender, and Name” (Statistics and Public Policy,

          2017); “The Primacy of Race in the Geography of Income-Based Voting” (American

          Journal of Political Science, 2016); Validation: What Big Data Reveal about Survey




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   Misreporting and the Real Electorate” (Political Analysis, 2012); and “The Politics of

   130,000 Religious Leaders (Journal for the Scientific Study of Religion, 2021).

11. I have been deposed as an expert witness five times, in Judicial Watch v. King, Fish

   v. Kobach, Stringer v. Pablos, U.S. v. City of Eastpointe, and Holmes v. Moore. The

   first three of these cases were focused on compliance with the National Voter

   Registration Act in Indiana, Kansas, and Texas, respectively. U.S. v. Eastpointe

   focused on compliance with the Voting Rights Act. Holmes v. Moore was a case in

   North Carolina state court involving a voter identification law. I have also served as

   an expert consultant in Texas v. Holder and Veasey v. Perry, two cases involving a

   voter identification law in the State of Texas.

12. In four of the above cases, my work as an expert required me to develop and

   implement methods to link individual records between voter registration databases

   and other databases (namely, driver’s license databases). I use a similar methodology

   in this report. It is also the methodology that is the focus of the peer-reviewed work I

   published in “ADGN: An Algorithm for Record Linkage Using Address, Date of

   Birth, Gender, and Name.”

13. I have filed declarations in other cases in which I was not deposed. These include,

   among others, Vote Forward v. DeJoy, a 2020 case involving the U.S. Post Office

   and mail voting, as well as Kelly v. Verizon, a class action case for which voter

   registration data was used to evaluate the domicile of class members.

14. I have served as an expert both for defendants (e.g. Judicial Watch v. King, Kelly v.

   Verizon) as well as for plaintiffs (e.g. Fish v. Kobach, U.S. v. City of Eastpointe).

15. I am compensated for my work at a rate of $350 per hour.




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          16. A copy of my current CV is attached as Exhibit A to this Report.

    IV.      Analysis Plan and Summary Statistics

    A. Overview

          17. The analysis here requires me to look up registered voters in the Department of

             Safety’s database of ID holders. For each registrant, I seek answers to four simple

             questions:

                       i. Does the registrant have a DPS ID Number?

                      ii. Does the registrant have more than one DPS ID number?

                     iii. Does the DPS ID Number(s) listed for a voter in the DPS database match

                           the DPS ID Number listed for that voter in the TEAM database?

                      iv. Does the SSN4 listed in the DPS database match the SSN4 listed for that

                           voter in the TEAM database?

          18. The first of these questions is relevant because some registrants are not listed in

             TEAM with any DPS ID Number. If these individuals possess a DPS ID number, they

             are required by SB 1 to list it on their mail ballot application. If these registrants list

             their DPS ID Number, SB 1 requires election officials to reject their forms as the

             number is not recorded on the TEAM database. 4




4
  The Texas Secretary of State has issued guidance to election officials that if registrants (even those possessing DPS
ID Numbers) list their SSN4 when applying for a mail ballot, then their ballots and ballot applications should not be
rejected (Texas Secretary of State, “FAQs on Applications for Ballots by Mail (ABBMs),” January 28, 2022, page
8.). However, Texas’s handbook (see footnote 1) offers conflicting guidance, which is consistent with the law and
with the application form instructions, that registrants with a DPS ID Number must list that number. On the mail
application form itself, a registrant is not asked to list their SSN4 if they possess a DPS ID Number. The registrant
would have no obvious way of knowing of alternative guidance, as it is inconsistent with SB 1’s text and the text of
the mail ballot application form. In addition, the state has allocated no funds with the passage of SB 1 to pay for any
kind of educational advertisement that indicates the Secretary’s interpretation of the law. For the lack of allocation
of funds for public education, see: Jerry McGinty, Legislative Budget Board, “Fiscal Note 87th Legislature 2nd
Called Session 2021,” August 30, 2021.


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19. The second question is relevant because registrants with more than one DPS ID

   Number can list one of their Numbers that happens not to be the one recorded in the

   TEAM database. If registrants list a number but not one listed on the TEAM file, their

   forms are rejected.

20. The third and fourth questions are relevant because typographical errors in the

   recording of SSN4s and DPS ID Numbers mean that registrants can fill out their

   correct DPS ID Number or SSN4 but their forms will be rejected because the correct

   number is not the same as the number listed on the TEAM file.

21. While the analysis that follows is simple in principle, it is somewhat complex in the

   details. The main reason for the complexity is that “looking up” a voter in the DPS

   database is not as straightforward as it sounds. Suppose, for instance, that I look up

   each registrant by their social security number. I could do so, and then compare the

   DPS ID Number for that voter listed in TEAM with the DPS ID Number(s) for that

   voter listed in the DPS records. I do perform such an analysis. However, the work is

   not complete. If voters are listed in TEAM with typos in their social security

   numbers, then they would not match to their DPS record on the basis of the social

   security number. Similarly, if voters are listed in TEAM with no social security

   number at all, then they would not match to their DPS record either. Consequently,

   simply linking the TEAM database and the DPS database on the basis of a social

   security number does not provide critical information such as the number of people

   with erroneous social security numbers listed on TEAM. Thus, I need to use

   additional strategies to look up registrants in the DPS database.




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        22. Before proceeding with the analysis, I will summarize key features of the two

            databases upon which this analysis relies: the DPS file of ID holders and the TEAM

            file of registered voters. Then, I will explain the methodology I use to link the two

            files together. Finally, I will conduct the analysis and explain the results. In the

            results, I will be attentive to several subpopulations of interest, including registrants

            who are aged 65 years or older, registrants with overseas mailing addresses, and

            registrants whose DPS records suggest they are disabled or homebound.

    B. Data Used in Analysis

                 Department of Public Safety Data

        23. As transmitted to me, the DPS database of driver’s license holders and other ID

            holders was divided into 10 separate files. According to the file labels, the files were

            extracted from Texas’s DPS system on January 7, 2022. I combined the ten files into

            one file.

        24. In total, the DPS file contains 36,227,819 records. In nearly all cases, each row is

            associated with a unique DPS ID Number. 5 For each of these numbers, the row shows

            information such as the name, address, and social security number of the associated

            individual. Many Texans are listed on more than one row with different DPS ID

            Numbers. This is evidenced by data on nine-digit social security numbers (SSN9)

            contained in the DPS database. Of the 36.2 million DPS records, 94.98% are listed

            with an SSN9. The other 5 percent are missing an SSN9. Of those with an SSN9

            listed, 24,569,348 (71.40%) have a unique SSN9 within the database. The remaining




5
 Out of the 36.2 million rows, there are 140 rows that show a duplicate DPS ID Number. All other rows show
unique DPS ID Numbers.


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   records (9,841,121) represent individuals who are listed with two more or more

   different DPS ID Numbers to their name.

25. From the data provided to me by the state, I cannot determine all the circumstances

   under which individuals have multiple DPS ID Numbers. Primarily, it appears to be

   the result of individuals who possess both a driver’s license number and a personal

   identification number. But there are tens of thousands of individuals who have

   multiple driver’s license numbers or multiple personal identification numbers. Texans

   with multiple DPS ID Numbers may have numbers that are expired as well as ones

   that are unexpired. However, according to SB 1, a registered voter applying for a mail

   ballot or submitting a mail ballot may use current or expired DPS ID Numbers.

26. The DPS database shows other evidence of individuals possibly possessing multiple

   DPS ID Numbers in addition to the fact that individuals appear on multiple rows. In

   about ten percent of rows in the DPS file (specifically, in 3,440,039 rows), there is a

   field populated with data that is called “AKA DL/ID Number.” This field appears to

   list additional identification numbers associated with a person on the file. However,

   many of these numbers appear different in format to Texas’s DPS ID Numbers, such

   as that they include letters in addition to numbers. Because I am not certain of the

   meaning of the AKA DL/ID Number field, I make the conservative assumption that

   these numbers are not DPS ID Numbers that Texans could use in submitting a mail

   ballot application or mail ballot.

27. Table 1 shows the rate at which key fields in DPS are missing data. As is clear, zero

   records – or at least less than 0.01% of records – are missing names, birthdates,




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             gender (male or female), or zip code. A small number of records are missing a street

             address number. And, as noted above, 5.02% of DPS records are missing an SSN9.

         TABLE 1: Rate of Missing Information in DPS


                                   Missing SSN                             5.02%
                                   Missing unique SSN9                       21.6
                                   Missing First Name                        0.00
                                   Missing Last Name                         0.00
                                   Missing Birthdate                         0.00
                                   Missing M/F Gender                        0.00
                                   Missing Street Number                     0.04
                                   Missing Zip Code                          0.00
                                   TOTAL IN DATABASE                   36,227,819



                  Voter Registration Data

         28. On January 27, 2022, I received a copy of Texas voter registration records (TEAM).

             According to the file labels, the files were extracted by Texas on January 24, 2022.

             Each of 254 counties had records contained in separate files. On each row of each

             county file, an individual registered voter is listed with personal information (e.g.

             name, birthdate, address) and information about the person’s election participation.

             On each row, the individual voter is also associated with a Voter Unique Identifier

             number, or “VUID.”

         29. For individuals who have recently cast ballots, the database extract that was produced

             by the state shows multiple records per person (one row per election in which each

             person is recorded as casting a ballot). For individuals who have not recently cast

             ballots (or not ever cast ballots), the database extract shows one row per person. 6


6
  Earlier in January, I received an initial production of the TEAM voter file that only contained records of
individuals who had cast ballots in recent elections. It excluded registrants who had not cast ballots in recent
elections. The January 24, 2022 production addressed this limitation by including non-voting registrants.


                                                                                                                   12
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30. In order to conduct the analysis in this report, I need to create a version of the TEAM

   file in which each individual who Texas considers a registered voter is listed once. By

   doing so, I am able to report on the total number of registrants whose mail ballot

   forms could be rejected due to SB 1’s identification number requirements. Since the

   version of TEAM transmitted to me has many individuals listed on more than one

   row, I take the following steps to de-duplicate the database.

31. First, for the individuals who have cast a ballot in one or more elections, I preserve

   the record of their most recent election. I preserve the most recent election because

   this record is presumed to be most up-to-date. I also preserve records of registrants

   who are listed as having not cast ballots in recent elections.

32. In total, across all 254 counties, this sums to 18,656,786 records. I create a file with

   fields from TEAM relevant to my analysis, including name, address, birthdate,

   gender, and identification number fields, plus a few other fields such as whether the

   individual has a non-US mailing address.

33. Of these 18,656,786 records, 822,166 are duplicative on all the fields I retained. That

   is, the same individual with all the same identifiers is listed on multiple rows within

   the county TEAM files. I remove these duplicates. This leaves 17,834,620 records.

34. I next remove six records that have no VUID listed. My methodology requires the

   database to have a unique identifier associated with each person. As the VUID

   identifier is available for all but six records, I utilize it as a unique identifier, which is

   why I remove the 6 records without a VUID.

35. Although VUID is called a “unique identifier”, the VUID listed on the TEAM files

   (even after the de-duplication procedures above) is only unique for 91.06% of




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             records. Duplicates appear to represent individuals who are listed under different

             residential addresses or different mailing addresses but are the same person and have

             a common VUID. As an extreme example, consider the case of one individual who is

             listed five times on TEAM. In all five records, she has the same VUID, the same

             birthdate, driver’s license number, social security number, and date of registration. In

             one county, she appears twice but on one of these two records she has a mailing

             address listed while on the other one she does not. This individual is also listed at

             three other addresses in three other counties.

        36. In order to work with a version of the TEAM database in which each registrant is

             represented once on the file, I remove records that are duplicative on VUID. For

             instance, in the case of the individual mentioned above whose VUID appears five

             times, I retain one of her five records. If any of the duplicate records on VUID differ

             such that one record contains a social security number while another does not, I retain

             the record that contains a social security number. 7 This de-duplication removes

             808,560 additional records, leaving the statewide file with 17,026,054 records. My

             analysis is based on this database of 17,026,054 records.

        37. While Texas did not supply me with a file in which each person it considers to be a

             registered voter is listed once, the state does report statistics about the total number of

             registrants in its records, both statewide and by county. Are the state’s published

             numbers comparable to the data I am using? According to its report from January

             2022 (the month in which I was supplied with a version of the TEAM file), Texas




7
 I retain the record containing a social security number to enable me to link the TEAM record to the DPS database
using the social security number for as many records as possible, per the methodology described below.


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             reports 17,119,632 registered voters. 8 In the records supplied to me, after de-

             duplication, there are 17,026,054.

        38. While the two files are close in the overall number of records, I checked, county by

             county, to determine if any counties showed substantially different numbers of

             registrants between the published numbers and the ones from the database supplied to

             me. In Figure 1, I count registered voters by county, and compare the number listed

             on the Secretary’s website with the numbers in the file sent to me. In the left panel, I

             show all 254 counties. In the right panel, I zoom in on the 246 counties in which

             fewer than 50,000 individuals are registered. Both panels indicate that no county is an

             outlier. That is, there is no county where the number of registrants according to the

             Secretary’s website differs meaningfully from the number in the data provided to me.

             The differences between the two are likely attributable to the fact that registration

             databases are dynamic, with additions and removals occurring frequently. The

             snapshot of the voter file provided to me is slightly different in the number of records

             from the snapshot used by Texas in publishing its January 2022 statistics, but the

             databases appear to be comparable. I have no reason to believe that the differences

             between versions of the TEAM database would systematically impact the analysis

             that follows or bear on any of the conclusions I draw.




8
 Texas Secretary of State, “January 2022 Voter Registration Figures,”
https://www.sos.state.tx.us/elections/historical/jan2022.shtml.


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FIGURE 1: Comparisons of Counts of Registered Voters by County in TEAM data

supplied to me (after de-duplication procedures) with TEAM data published by

Texas




TABLE 2: Rates of Missing Information in TEAM


                    Missing SSN                       2.34%
                    Missing Unique SSN9                 6.64
                    Missing First Name                  0.00
                    Missing Last Name                   0.00
                    Missing Birthdate                   0.05
                    Missing M/F Gender                  3.68
                    Missing Street Number               0.07
                    Missing Zip Code                    0.05
                    TOTAL IN DATABASE             17,026,054



39. Table 2 shows the rate at which key fields in TEAM are missing data. As is clear,

   zero records – or at least less than 0.01% of records – are missing names. A small

   number – less than a tenth of a percent – are missing birthdates, street numbers, or zip

   codes. Whereas the DPS data treats gender as a binary field, with only M or F listed,



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            the TEAM file has other gender designations. Most significantly, 623,052 individuals

            are listed with gender code of U. For the purpose of linking databases using the

            gender field, I treat those not M or F as missing on gender.

    C. Data Quality Checks in TEAM Voter Records

        40. I performed a series of additional diagnostics on the TEAM file, examining the

            quality of the key fields.

        41. Birthdates. On TEAM, 4,066 individuals have invalid birthdates. These are either

            missing completely or have dates such as “01-01-0001”. Another 5,235 individuals

            have birthdates indicating they were born before 1912, suggesting they are over 110

            years old. Of these, most (4,824) have birthdates listed before October 1, 1906. That

            date, according to AARP, is the birthdate of the oldest American as of January 2022. 9

            That is, TEAM lists almost five thousand registered voters with birthdates older than

            the oldest American. Many of these individuals are listed with birthdates such as

            January 1, 1900 and January 1, 1901.

        42. Social Security Number. The social security number (SSN) field in TEAM is missing

            completely for 398,140 individuals. For 436,948 additional individuals, a four-digit

            SSN is listed rather than a nine-digit SSN. 10

        43. While 16,190,957 (95.10%) have a nine-digit SSN listed on TEAM, some of these

            numbers are invalid. For instance, SSNs cannot start with three zeroes (000-XX-

            XXXX), nor can they end with four zeroes (XXX-XX-0000). They cannot start with a

            9 (9XX-XX-XXXX), nor start with a 666 (666-XX-XXXX), nor can they have two



9
  Karen Skiba, “Oldest American Credits Long Life to Avoiding Worry,” AARP, May 20, 2021. This individual
died in late January 2022.
10
   Nine individuals are listed with five-digit or six-digit social security numbers, which are invalid.


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             zeroes in the middle (XXX-00-XXXX). 11 All of these instances appear in the TEAM

             file and affect 183 records. Another 181 records share an SSN listed as XXX-XX-XXXX.

             Seven records share the SSN of XXX-XX-XXXX.

        44. Much more common than invalid SSN9s are duplicative SSN9s. Several hundred

             thousand records on TEAM share an SSN9 with another record. In most of these

             cases, these are multiple records of the same individual who has multiple rows with

             different VUIDs. In other cases, however, different people (with different names and

             dates of birth) are listed with a common SSN9. There are 15,835 records who share a

             9-digit SSN with another registrant in Texas, according to TEAM, but have a

             different last name, first name, and date of birth from that other listed registrant.

        45. Altogether, 15,895,752 individuals of the 16,190,957 listed with an SSN9 have a

             unique nine-digit SSN. That is, SSN9 is not unique for 1.82% of individuals who are

             listed with an SSN9. Thus, while a 9-digit SSN is, in principle, a unique identifier,

             that isn’t quite the case in TEAM records. A variety of circumstances can result in

             duplicate SSN9s, including individuals assigned incorrect SSN9s, such as 111-11-

             1111, and typos such that a person ends up being listed with the SSN9 of another

             person who has a similar SSN9.

        46. Driver’s License/ID card. Of all the records in TEAM, 537,270 (3.16%) are not listed

             with a DPS ID Number. Of these, 102,074 are also not listed with an SSN4 or SSN9.

             Apart from TEAM records missing a DPS ID Number altogether, other records have

             ID numbers listed that are not valid. For instance, 3,610 have a nine-digit DPS ID

             Number even though the DPS ID is officially an 8-digit number. Forty-seven


11
  Social Security Administration, “Social Security is Changing the Way SSNs are Issued,”
https://www.ssa.gov/kc/SSAFactSheet--IssuingSSNs.pdf.


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       individuals share an DPS ID Number of 11111111 and thirty individuals share the

       number 99999999.

       TABLE 3: Summary of Field Completeness in TEAM


    TOTAL Records in TEAM analysis                  17,026,054
    Records with unique SSN9                        15,895,752               93.36%
    Records with SSN4                               16,627,905                 97.66
    Records with DPS ID Number                      16,488,784                 96.84
    Records lacking SSN4 and DPS ID No.                102,074                   0.6


 47. Table 3 summarizes information about the SSN and DPS ID Number information

       contained in TEAM. In Table 3, records for SSN4 and DPS ID Number include those

       that are invalid. For instance, the 47 individuals listed with DPS ID numbers as

       11111111 are included in the totals. If such a person possesses a DPS ID Number that

       is not 1111111 and includes that number on a mail ballot application, election

       officials would reject the application as it does not match the 11111111 that is listed

       on TEAM.



 TABLE 4: Terminology Review


TEAM database        Database of registered voters (Texas Election Administration
                     Management system)
DPS database         Database of Department of Public Safety ID card holder (e.g.
                     driver's licenses)
DPS ID Number        An 8-digit DPS identification number (e.g. driver's license
                     number)
SSN9                 Complete, nine-digit social security number
SSN4                 The last four digits of a social security number


 48. Address and Gender. While most TEAM records list standard residential addresses,

       9,130 registrants are listed without a zip code and 11,621 records do not have a street



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             address number. Gender is either missing or defined as unknown or other than male

             and female for 627,115 records.

          49. Before proceeding with the next stage of the report, Table 4 reviews and summarizes

             a few key abbreviations of terms used up until this point in my report.



     V.      Methodology for Linking Records between TEAM and DPS

          50. As stated above, the methodology of this analysis is to look up each registered voter

             in the DPS database and determine if the registered voter has one (or more) DPS ID

             Numbers listed, and to see if there are typos or other inconsistencies between the DPS

             ID Numbers and SSN4s listed on TEAM versus those listed on the DPS Database.

          51. I will adapt a methodology I developed and published in Ansolabehere and Hersh

             (2017). 12 I will illustrate this methodology through an example of a fictitious

             registered voter. I will call this person John Smith and assign him the fake social

             security number of XXX-XX-XXXX and the fake birthdate of July 4, 1976. The fictitious

             John Smith is a male who lives at 655 E Cesar E. Chavez Blvd, San Antonio TX

             78205. This is the address of the United States Courthouse. It is a real address. But,

             again, our fake illustrative person, John Smith, does not actually live there.

          52. Suppose John Smith has a unique social security number listed on TEAM database.

             That is, his SSN9 is listed in registration records and no one else on TEAM is listed

             with that SSN9. He would be one of 93.36% of registered voters with a unique SSN9

             on the TEAM file. The first step of my analysis is to merge the TEAM file with the

             DPS file for these 93.36% of TEAM records on the basis of their SSN9s.


12
  Stephen Ansolabehere and Eitan Hersh, “ADGN: An Algorithm for Record Linkage Using Address, Date of
Birth, Gender and Name,” Statistics and Public Policy, 4:1, 2017.


                                                                                                        20
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   TABLE 5: Illustration of Linking TEAM and DPS based on SSN9


TEAM Database                                   DPS Database
Name       SSN9        DPS ID No.               Name       SSN9                DPS ID No.
John Smith XXX-XX-XXXX (missing)                John Smith XXX-XX-XXXX           11223344


   53. In the scenario depicted in Table 5, John Smith does not have a DPS ID Number

      listed on the TEAM file (similar to more than half a million Texans). When I search

      for his SSN9 on the DPS file, however, I find his record and learn that he does, in

      fact, have a DPS ID Number. If Smith were to include only this DPS ID Number on

      his mail ballot application (as the mail ballot application form instructs him to do), his

      application would be rejected by election officials since that DPS ID Number does

      not appear in TEAM.

   54. After linking TEAM and DPS based on SSN9s, I calculate the key statistics, such as

      the number of individuals who, like Smith, do not have a DPS ID Number listed in

      TEAM but do have one listed in DPS.

   55. For two reasons, I also must match TEAM and DPS based on identifiers other than

      SSN9. For one, 6.5% of registrants in Texas are not listed in TEAM with a unique

      SSN9. For another, suppose there are inaccuracies in how SSN9 is stored. Maybe,

      when John Smith registered to vote, an election official entered Smith’s social

      security number with a typo, noting it as XXX-XX-XXXX instead of XXX-XX-XXXX. In this

      scenario, John Smith would not match to his DPS record based on the SSN9, since

      the SSN9 is recorded incorrectly. Additionally, if Smith were to submit a mail ballot

      application using the last four digits of his social security number as his identification,

      his application would be rejected. He would write “6789” as his SSN4, but the TEAM

      record would show “6782”.


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56. Therefore, in addition to linking TEAM and DPS based on SSN9s, I also link the

   databases on combinations of personal information. The first combination I will use is

   first name + last name + date of birth. I use the following procedure. Observing that

   birthdate in TEAM is stored MM-DD-YYYY while in DPS it is stored as YYYY-

   MM-DD, I reconfigure the TEAM birthdate information to match DPS. Next,

   following my past research (Ansolabehere and Hersh, 2017), I prepare the first name

   and last name fields. Sometimes, names are stored differently in different databases.

   For instance, names with dashes, apostrophes, or spaces are sometimes stored with

   punctuation or spaces and other times not. Names with suffixes, such as Jr. or III, are

   sometimes stored with the suffix as part of the surname and other times not. I process

   the first and last names in TEAM by removing punctuation, spaces, and suffixes. I

   then combine the three fields into a field I will refer to as “ND” for name + date of

   birth.

57. Thus, the fictitious John Smith would have an ND value of “JOHNSMITH1976-07-

   04.” I create this field in the TEAM file and I create an equivalent field in the DPS

   file. I then merge the files together on the basis of this ND field, just as I had done

   using SSN9. I can then compare how John Smith’s SSN4 and DPS ID Number appear

   on the TEAM file with how these numbers appear on the DPS file.

58. Is ND a unique identifier similar to SSN9? Excluding the records of individuals who

   are missing birthdate information in TEAM, ND uniquely identifies 98.62% of

   individuals in TEAM. The remaining 1.38% are duplicative. Note that the rate of

   duplicates on ND is less than the rate of duplicates on SSN9 in TEAM (1.82%),




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   which was discussed above. In addition, because name and birthdate are rarely

   missing, the identifier is available for 17,021,992 (99.98%) of the records.

59. There are several reasons why an individual might not have a unique ND identifier in

   a small number of cases. Similar to non-unique SSN9s, there are some individuals in

   TEAM who are listed multiple times, with different VUIDs, or perhaps at different

   addresses. The de-duplication processes described earlier in this report would not

   have accounted for individuals listed with different VUIDs. These individuals would

   nevertheless show up as duplicates on ND and SSN9. In addition, just as there are

   rare cases on TEAM where different individuals (with different names and birthdates)

   share an SSN9, there are a small number of individuals who are different people but

   share a value on ND. In the case of SSN9, the duplicate is due to an error, as no two

   individuals are supposed to share an SSN9. With the ND identifier, there are a small

   number of individuals who do share a first name, last name, and exact date of birth

   with another registrant.

60. How common is it for two different people to share a value on ND? Consider

   individuals who have unique SSN9s on TEAM (N=15,895,752). Because they are

   unique on SSN9, they are not likely to include instances of individuals who are listed

   on TEAM more than once with different VUIDs. Of those with a unique SSN9,

   99.64% (15,838,711) also have a unique ND value. Thus, the remaining 0.36% may

   have a non-unique ND because they share a name and date of birth with another

   registrant.

61. I guard against linking two different people who share a common ND by only

   attempting to link records if the value of ND is unique on the TEAM file. In other




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   words, for the 1.38% of records that are not unique on TEAM based on their ND

   (either because they contain erroneous information, identify individuals who are

   listed multiple times in TEAM, or identify multiple individuals who have the same

   name and birthdate), I do not attempt to link them to the DPS database using ND.

   Furthermore, in an analysis described below, I will be able to estimate whether

   individuals who are listed in TEAM are a false-positive match to different individuals

   with the same names and birthdates who are listed in DPS.

62. In addition to linking TEAM and DPS based on SSN9 and based on the combination

   of name and birthdate, I perform one additional linkage between the files, based on

   address, gender, and date of birth. Why is this additional linkage necessary? While

   the Name + Date of Birth combination is available for nearly all registrants in TEAM

   and exhibits a higher rate of uniqueness than SSN9, it does have a drawback in

   linking individuals between two databases. Namely, it is stored less consistently than

   SSN9. Surnames often change when people marry. First names are sometimes

   recorded with nicknames. The fictitious John Smith may have registered to vote using

   his nickname, Johnny Smith. Or, maybe John Smith took on a hyphenated surname

   when he got married. As such, he is listed as John Smith in the DPS records but John

   Smith-Jones on TEAM. Name inconsistencies across databases mean that a person

   with a unique name and date of birth on TEAM might fail to match to his or her

   record on DPS.

63. Accordingly, I also link records between TEAM and DPS with an alternative

   identifier that excludes name information. I match individuals based on a combination

   of address, date of birth, and gender. Following procedures discussed in Ansolabehere




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   and Hersh (2017), I extract two pieces of information from addresses, the street

   number and the five-digit zip code. I then combine them. Our fictitious character John

   Smith lives at 655 E Cesar E. Chavez Blvd, San Antonio TX 78205. From this

   address, I would extract 65578205 (the 655 from the street number, the 78205 from

   the zip code). By extracting just these numbers, I avoid possible inconsistencies in

   how addresses are stored in different databases. In one database, Smith’s address

   might be listed as “E Cesar E Chavez Blvd” whereas in another database it could be

   listed as “East Cesar Chavez Boulevard”. Due to inconsistences in naming

   conventions of streets, I focus just on the street number and zip code.

64. I combine the address information with the date of birth and gender (represented by

   “M” or “F”) of registrants. I call this combination ADG, for address + date of birth +

   gender. For instance. John Smith’s ADG combination would be 655782051976-07-

   04M. If the individual does not have residential address information listed but does

   have mailing address information listed, I use the mailing address (and PO boxes,

   when street addresses are not present) in place of the residential address.

65. The ADG identifier can be constructed for all registrants who have a gender,

   birthdate, and address listed. This amounts to 16,398,349 individuals (96.31% of

   TEAM). Of these, the ADG identifier is unique for 99.29% of them. This compares to

   98.62% for ND and 98.18% for SSN. Among individuals who are unique on SSN,

   99.52% are also unique on ADG.

66. As with the other identifiers, there are rare circumstances where two different

   individuals share the same ADG identifier. For instance, two twins of the same

   gender who are registered at the same address would be two different people with a




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   matching ADG. As with the other identifiers, I only seek to link records based on

   ADG for individuals who are unique on ADG in the TEAM file. Thus, in the case of

   same-gender, same-address twins, I would not seek to link them to DPS based on

   ADG. However, assuming they are uniquely identified by either their SSN or DN,

   they would be linked to the DPS file in those ways.

67. Just as the ND combination will not match individuals if there is a discrepancy in the

   name or date of birth field, the ADG combination will not match individuals if there

   is a discrepancy in the address, gender, or date of birth fields. The most likely

   scenario of a non-match on ADG is when an individual has an old residential address

   listed on one database and a new residential address listed on another database. If a

   person has two different addresses listed on TEAM and DPS, then the person’s

   records will not match on ADG. However, assuming the individual has a unique

   SSN9 listed OR has his/her name and birthdate listed consistently across databases,

   then the person on TEAM would match to his/her record on DPS. Out of all

   17,026,054 registered voters, I can attempt to link all but 39,549 (0.23%) records to

   DPS. These 0.23% of records are not unique on the TEAM file on any of SSN9, ND,

   or ADG.

68. Table 6 summarizes the names of the fields used to match across databases. On the

   DPS file, I create a parallel set of fields: SSN9, ND, and ADG. The major difference

   between preparing the TEAM file and the DPS file is that the DPS file has multiple

   rows of individuals who have more than one DPS ID Number. Thus, the linkage

   fields are meant to uniquely identify individual people on DPS but they are not meant

   to uniquely identify individual records. When linking records between TEAM and




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        DPS, I thus perform 1-to-many merges. This means that for each TEAM record that is

        unique on SSN9, I find one or more records on DPS that match that SSN9. For each

        TEAM record that is unique on ND, I find one or more records on DPS that match

        that ND. And for each TEAM record that is unique on ADG, I find one or more

        records on DPS that match that ADG.



     TABLE 6: Summary of Fields Used in Linking TEAM Database to DPS Database


Field Name   Explanation                                “John Smith” example
SSN9         9-digit social security number             “XXX-XX-XXXX”
ND           First name + Last name + Date of birth     “JOHNSMITH1977-07-04”
ADG          Address + Date of birth + Gender           “655782051976-07-04M”



     69. In creating these linkage combinations, some questions may arise. First, if a record in

        TEAM links to a record on DPS based on ND or ADG, how confident ought we be

        that the person with these name, birthdate, address, and gender attributes on TEAM is

        the same person with these attributes on DPS? Below, I will validate the accuracy of

        the linkage technique by comparing social security numbers of those who match on

        ND or ADG. I will show that a person who matches on ND or ADG almost always

        matches on SSN9 as well. And when the person does not have matching SSN9s, it is

        far more likely to be due to a typographical error in SSN9 rather than a false positive

        match on ND or ADG.

     70. The second question that arises is why use the particular combinations here (ND and

        ADG) rather than other possible combinations. Indeed, in prior court cases and

        published work, I utilized alternative algorithms. For instance, in Fish v. Kobach, I

        utilized ND, ADN (address, date of birth, and name), and AD (address and date of


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   birth). In Hersh and Ansolabehere (2017), which relates to expert testimony of Dr.

   Ansolabehere in Veasey v. Perry, we used several additional combinations, such as

   gender, date of birth, and name (GDN).

71. The exact set of linking combinations depends on the features of the data and the

   research question in any particular case. The methodology can be adapted based on

   what is needed. For instance, in Veasey v. Perry, a nine-digit social security number

   was only available for half of registered voters in Texas (Ansolabehere and Hersh,

   2017). In the present case, SSN9 is available for over 90% of registrants. As such,

   one need to rely less on combinations of other identifiers. In the current data, because

   gender is missing for about 4% of records but name and birthdate are missing for less

   than 0.01% of records, it is advantageous to link based on name and birthdate (ND)

   without adding gender to that combination. Because first names are typically

   distinctive by gender, gender only aids in generating unique identifiers in rare cases

   when two individuals with the exact same name and birthdate are of different

   genders.

72. The combinations used here, ND and ADG, are advantageous because they uniquely

   identify almost every registered voter and together, they are able to do so without

   using the name field (in the case of ADG) and the address field (in the case of ND).

   Due to residential moves, nick-names, and married names, these two fields can be

   stored inconsistently across databases. Successive attempts at matching based on

   SSN9, ND, and ADG allow for matches to individuals who are missing data or have

   inconsistent records on SSN9, name, address, and gender.




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73. Finally, as the analysis below demonstrates, the three linkages used here identify

   almost all (98.7%) of registrants on the DPS database who have a DPS ID Number

   listed on TEAM. Additional attempts to link the databases based on different

   combinations of address, gender, date of birth, and name would only serve to find a

   few more DPS ID holders and identify a few more instances of problems associated

   with SB 1’s identification number requirements.



Subpopulations

74. In addition to preparing the DPS database and TEAM databases as described above, I

   prepare the data files so I can observe rates of problematic SSN4s and DPS ID

   Numbers for specific subpopulations of registered voters.

   a. Over 65: I create a file that notes every registered voter listed as born before 1957

       and after 1906. This represents the over-65 population (excluding those with

       implausibly old birthdates).

   b. Recent Voters: I create a file that notes every registered voter who cast a ballot in

       the November 2020 election. Why these voters? I sought to determine whether

       problems with the ID verification requirement are just concentrated among

       registrants who have obsolete records or who have not recently cast ballots. If that

       were the case, maybe the problems identified would not be seen as acute.

       However, problems affecting records of individuals who just recently voted

       suggests the identification verification requirement impacts actively engaged

       voters.




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         c. Overseas Voters: I create a file that notes every registered voter who has a non-

             US mailing address. These could include some members of the armed forces,

             military families, and other overseas citizens who would be particularly likely to

             cast ballots by mail.

         d. Homebound/Disabled Veteran: In the DPS database, individuals are flagged if

             they have a status as a disabled veteran or a homebound person. I perform a

             separate link between TEAM records and the DPS records of those who have a

             disabled veteran flag or homebound flag using the same methodology as used for

             the general population.



VI.      Linkage Part I: TEAM Records with missing DPS ID Numbers

      75. I divide the analysis into two parts. First, I examine individuals whose TEAM records

         do not show any DPS ID Number. Second, I examine individuals whose TEAM

         records do show a DPS ID Number.

      76. Out of 17,026,054 records in TEAM, 537,270 do not have a DPS ID Number listed in

         the voter registration records. If any of these individuals actually has a DPS ID

         Number, they are instructed by the mail ballot application forms to include that DPS

         ID Number. But SB 1 requires that these forms – the application and the ballot itself –

         to be rejected because the DPS ID Number is not listed on TEAM.

      77. Registrants who do not have a DPS ID Number recorded on TEAM are different from

         those who do have a DPS ID Number recorded on TEAM. Namely, they are older.

         The median age for a registrant without a DPS ID Number on TEAM is 58. The

         median age for a registrant with a DPS ID Number on TEAM is 48. Whereas 24% of




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   individuals with a DPS ID Number on TEAM are 65 or older, that rate is nearly

   double (42%) for individuals without a DPS ID Number. Age 65 and older is relevant

   as all voters 65 and older may request an absentee ballot under Texas law.

   TABLE 7: TEAM records by Presence/Absence of Unique SSN9 and DPS ID

   Number


                                   Unique SSN9
                                   Present    Absent TOTAL
              DPS ID   Present     15,745,864 742,920 16,488,784
              Number   Absent       149,888   387,382  537,270


78. I link the 537,270 individuals who do not have DPS ID Numbers recorded in TEAM

   to the DPS database using the SSN, ND, and ADG techniques described above.

79. I first link by SSN9. Of the 537,270 individuals without a DPS ID Number, 149,888

   have a unique SSN9 listed (as noted in Table 7). Of those, 83.93% match to the DPS

   database by their SSN9. A total of 76.18% of the records match to a single DPS ID

   Number, and 7.75% link to multiple DPS ID Numbers.

80. I next link these individuals based on ND. As noted in Table 7, most individuals who

   lack DPS ID Numbers on TEAM also lack an SSN9. However, nearly all of the

   records have a unique ND combination. Of the 537,270 lacking a DPS ID Number on

   TEAM, 517,283 (96.28%) have a unique ND. Of those who have a unique ND,

   33.86% match to a single DPS record and 5.46% match to multiple DPS records.

81. I next link these individuals based on ADG. Of 537,270 records lacking a DPS ID

   Number on TEAM, 478,632 (89.09%) have a unique ADG. Of those with a unique

   ADG, 36.82% match to a single DPS record and 4.54% match to multiple DPS

   records.



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    TABLE 8: Results of Linking TEAM to DPS Records for TEAM Records without a

    DPS ID Number listed


       No Match to DPS      Single Match to DPS       Multiple Match to DPS        Attempted
                                                                                   to Match
SSN9        16.07%                  76.18%                      7.75%                149,888
ND           60.68                   33.86                       5.46                517,283
ADG          58.63                   36.82                       4.54                478,632
Any          47.97                   45.64                       6.39                531,251


    82. Table 8 summarizes the analysis of records that do not have a DPS ID Number listed

        on the TEAM voter file. Each of the first three rows summarizes a linkage between

        TEAM and DPS based on SSN9, ND, and ADG, respectively. For instance, the first

        row shows that I attempted to match 149,888 records in TEAM based on SSN9. This

        reflects the number of TEAM records with a unique SSN9. Of those, 16.07% did not

        match to DPS. The others did match.

    83. The bottom row of Table 8 provides the overall summary for the TEAM records

        lacking a DPS ID Number. Of the 537,270 total records lacking a DPS ID Number, I

        attempted to link 531,251 (98.88%) to the DPS database. (The other 1.12% did not

        have a unique or complete value for SSN9, ND, or ADG). Of the 531,251 individuals

        I attempted to find on DPS, a majority (52.03%) matched to a DPS record. That

        amounts to 276,405 registered voters. These individuals possess a DPS ID Number

        and therefore are instructed by Texas’s mail ballot forms to list their DPS ID Number

        on their mail ballot application. However, SB 1 requires that their ballot application,

        and their ballot, to be rejected because the number is not listed on TEAM.

    84. Subpopulations: Of the 276,405 individual who match to DPS and have a DPS ID

        Number even though no such number is listed on TEAM,



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           •   155,583 are over age 65

           •   95,892 voted in the 2020 election

           •   59,567 are over 65 AND voted in the 2020 election

           •   374 have non-US mailing addresses

           •   781 individuals matched to DPS records indicating homebound status or

               disabled veteran status.

These numbers clearly show that many active voters who are eligible to vote by mail

under Texas law are listed in TEAM without DPS ID Numbers but do in fact possess

DPS ID Numbers.

A. Validation of Methodology

85. There are obvious reasons why an individual who matches on SSN9 would fail to

   match on ND or ADG. If there is a nickname used in one database, if a surname has

   changed, if gender is not recorded as male or female, or if an address has changed,

   this would cause individuals who match on SSN9 not to match on one or more of the

   other combinations. However, individuals who match on ND or ADG but DO NOT

   match on SSN9 present a puzzle. Do these individuals fail to match on SSN9 because

   ND or ADG are causing false positive matches between two different people? Or do

   these individuals fail to match on SSN9 because the SSN9 information is recorded in

   error on either TEAM or DPS?

TABLE 9: Rates of Mismatches on SSN9 for Records that Matched on ND or ADG


       If matched on…       SSN9 Match       SSN9 No Match           N
       ND                      97.63              2.37             83,504
       ADG                     97.66              2.34             98,547



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86. In Table 9, I show how often records that match on ND or ADG do not match on

   SSN9. It is rare. For instance, the first row assesses those who have SSN9 present on

   both TEAM and DPS and who matched on ND. Of these 83,504 individual records,

   97.63% also matched on SSN. As the table shows, on both ND and ADG, just over 2

   percent of individuals have mismatched SSN9s.

87. In these 2 percent of cases with mismatched SSN9s, I conduct a further analysis. This

   analysis demonstrates conclusively that individuals who match on ND or ADG but

   not on SSN9 fail to match because of typos in SSN9 rather than because these linkage

   strategies generate false-positive matches.

88. The further analysis I conduct uses a measurement tool known as Levenshtein

   distance. The Levenshtein distance is simply the number of characters in a string that

   would need to change in order for two strings to match each other. For instance,

   consider these two strings of numbers. String #1 is: XXX-XX-XXXX. String #2 is: 123-

   45-6788. The Levenshtein distance between these two strings is 1, since only one

   character would need to change for these two strings to be identical. Now consider

   the Levenshtein distance between String #1 (XXX-XX-XXXX) and a new string, String

   #3. String #3 is XXX-XX-XXXX. The Levenshtein distance between String #1 and String

   #3 is 8, because 8 of the 9 numbers in String #1 (all the numbers except the 5) would

   need to change for XXX-XX-XXXX to equal XXX-XX-XXXX.

89. Now consider the registrants in TEAM who match to individuals in DPS based on

   their ND or ADG, but they do not have matching SSN9s. If these represent false-

   positive matches (i.e. two different people who share traits such as name, address,

   birthdate, and gender), then their social security numbers should be entirely different




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   from one another. If their social security numbers are entirely different from one

   another, then the Levenshtein distance should be high (i.e. most or all of the numbers

   in the SSN9 would need to change for these two random people to have matching

   SSN9s). However, consider another possibility, which is that the person who matches

   on ND or ADG but not on SSN9 is one individual with one SSN9, but there is an

   error in how this person’s SSN9 is recorded either on TEAM or on DPS. The

   recording error in a Texas database would be the reason the records do not match

   based on an SSN9. If there is a typographical error on one or two of the digits, then

   the Levenshstein distance would be low (i.e. just one or two of the digits would need

   to change for these two SSN9s to match).

   TABLE 10: Levenshtein Distance Measures between SSN9 on DPS and SSN9 on

   TEAM for records that match on ND or ADG but Do Not Match on SSN9


                                       ND    ADG
                              1      65.49% 66.07%
                              2       18.47  18.98
                              3        2.57   2.61
                              4        1.87   1.95
                              5        1.56   1.61
                              6        2.62   2.65
                              7        3.18   2.52
                              8        2.98   2.69
                              9        1.26   0.91
                              N       1,982  2,302


90. For each record that matches on ND or ADG but does not match on SSN9, I compare

   the SSN9 as it is recorded in TEAM and the SSN9 as it is recorded in DPS. In Table

   10, I record the distribution of Levenshtein distances. As is shown, for approximately

   85% of these cases, the Levenshtein distance is 1 or 2, which signals that the SSN9s



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       as recorded in TEAM and DPS are identical but for one or two digits. Table 10

       provides conclusive evidence that in the rare cases in which records match on DN or

       AGD but not on SSN9, it is overwhelmingly because there are typos in the recording

       of SSN9s.

   B. Typographical Errors in SSN4

   91. The above analysis is not only useful in validating the linkage technique used here. It

       also signals an issue with SB 1. Namely, some typos in SSN9 happen to be in the last

       four digits of the social security number. A registered voter who applies for a mail

       ballot and records their SSN4 correctly on the application will have their application

       rejected if there is a typo in SSN4. Among registrants who lack a DPS ID Number

       recorded on TEAM but who match to a record in DPS based on ND or ADG, I

       compare the SSN4 as recorded on the two databases. I find that 3,726 individuals who

       appear on both databases have discrepancies in their SSN4s. If the DPS records of

       SSN are correct, then these 3,726 cases result from inaccuracies on TEAM. They

       would result in election officials rejected mail ballot forms from citizens who include

       their correct SSN4 on the forms.



VII.   Linkage Part II: TEAM Records Listed with DPS ID Numbers

   92. I now turn to the analysis of the 16,488,784 records in which a DPS ID Number is

       listed in the TEAM databases. As noted above, in Table 7, 95.5% of these records

       have a unique SSN9 associated with them. I first link these records to DPS by

       matching on SSN9. Of 15,745,864 records with a unique SSN9 on TEAM, 99.66%




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          match to a record in DPS. However, 15.60% of the records match to more than one

          DPS ID Number.

       93. Next, I link records based on the ND combination. The ND combination is unique for

          16,269,349 individuals who have a DPS ID Number listed on TEAM. Of these,

          97.39% match to a record in DPS. However, 15.20% match to more than one DPS ID

          Number.

       94. Next, I link records based on the ADG combination. The ADG combination is unique

          for 15,803,406 individuals who have a DPS ID Number listed on TEAM. Of these,

          79.32% match to a record in DPS. However, 9.84% match to more than one DPS ID

          Number. Notice, fewer individuals on TEAM match to records on DPS based on the

          ADG indicator compared to the ND indicator. This is attributable to residential

          address differences between individuals listed on TEAM and those same individuals

          listed on DPS.

TABLE 11: Results of Linking TEAM to DPS Records for TEAM Records with a DPS ID

Number listed


           No Match to DPS      Single Match to DPS      Multiple Match to DPS      Attempted
                                                                                     to Match
SSN9            0.34%                  84.06%                     15.60%            15,745,864
ND               2.61                   82.19                      15.20            16,269,349
ADG             20.68                   69.48                       9.84            15,803,406
Any              1.30                   85.25                      13.45            16,455,254


       95. Table 11 summarizes the analysis of records missing a DPS ID Number on the voter

          file. Consider the bottom row. Of the 16,488,784 records in TEAM listed with a DPS

          ID Number, I attempted to link 16,455,264 (99.80%) of them to the DPS database.

          The remaining 0.20% did not have a unique or complete record on SSN, ND, and


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    ADG. Of these 16,455,254 records, 98.70% (that is, all but 1.30%) matched to a

    record in DPS. However, 13.45% of these 16.5 million people are listed more than

    once on DPS, with multiple ID numbers. These 13.45% of records sum up to

    2,213,676 records. That is, for 2.2 million Texas registered voters who have a DPS ID

    Number listed, they may put a correct DPS ID Number on their mail ballot

    application form but nevertheless have their application (or their ballot) rejected

    because the DPS ID Number they write down, while correct, happens not to be the

    DPS ID Number recorded on the TEAM file.

 96. The 2.2 million figure may be a significant underestimate. Recall that on about 10%

    of rows in the DPS file, ID holders are listed not just with one DPS ID Number but

    they have alternative ID numbers stored as “AKA DL/ID Numbers.” Of the

    14,027,371 TEAM records that linked to a single DPS ID Number, 1,412,213 of them

    linked to a record that listed alternative ID numbers in the “AKA DL/ID Number”

    field. If these ID Numbers are current or expired Texas ID Numbers such as driver’s

    license numbers, a registrant who uses these alternative numbers when submitting a

    mail ballot application or mail ballot would also have his or her forms rejected.

    However, as stated earlier, it is unclear from the information Texas has provided thus

    far whether the “AKA DL/ID Number” field includes any DPS ID Number or some

    DPS ID Numbers combined with ID numbers from other states or other kinds of

    numbers altogether. Accordingly, I will focus here on registered voters who have

    multiple DPS ID Numbers exclusive of the AKA DL/ID Numbers.

 97. Subpopulations: Of the 2,213,676 individuals who match to multiple DPS ID

    Numbers,




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              •   189,699 are over age 65

              •   1,105,194 voted in the 2020 election

              •   114,129 are over 65 AND voted in the 2020 election

              •   277 have non-US mailing addresses

              •   5,308 individuals matched to DPS records indicating homebound status or

                  disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with a DPS ID Number but possess multiple DPS ID

   Numbers. If they list a DPS ID Number other than the one that happens to be recorded in

   TEAM, SB 1 requires their mail ballot forms to be rejected.

   A. Validation of Methodology

   98. As in the analysis regarding individuals not listed with DPS ID Numbers, I now

      conduct the same validation exercise for those who do have DPS ID Numbers listed.

      Namely, I investigate the records that matched between TEAM and DPS based on

      ND and/or ADG, but did not match across databases on SSN9.

TABLE 12 Rates of Mismatches on SSN9 for Records that Matched on ND or ADG


                                             SSN9
        If matched             Match                No Match             N
        on…
        ND                     99.81                  0.19          15,420,951
        ADG                    99.78                  0.22          12,100,999


   99. In Table 12, I restrict the analysis to those who have an SSN9 recorded both in the

      TEAM file and the DPS file. The rows indicate the percent that matched on SSN9. As




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    Table 11 shows, if an individual record linked based on ND or ADG, the record also

    links based on SSN9 in 99.8% of cases. But even in these 0.2% of cases, why do

    individuals link on name, address, date of birth, and gender, but not on SSN9?



 TABLE 13: Levenshtein Distance Measures between SSN9 on DPS and SSN9 on

 TEAM for records that match on ND or ADG but Do Not Match on SSN9


                                         ND        ADG
                              1        70.06%     70.51%
                              2         19.24      19.30
                              3          2.36       2.32
                              4          1.56       1.56
                              5          0.71       0.70
                              6          1.27       1.19
                              7          1.85       1.65
                              8          1.99       1.86
                              9          0.94       0.91
                              N        29,982     26,520


 100.   As Table 13 shows, in 90% of cases in which a record links based on ND or ADG

    but not SSN9, the SSN9 listed in TEAM and the SSN9 listed in DPS are off by just

    one or two digits. This is indicative that typos in one or two positions in an SSN9 are

    the cause of most the mismatches.

 B. Typographical Errors in SSN4

 101.   Looking just at the last 4 digits of social security numbers, I calculate the number

    of individuals in TEAM who match to records in DPS based on ND and ADG, but

    whose TEAM records show a different SSN4 than is shown on DPS. There are

    40,718 individuals who appear on DPS with different SSN4s than shown on TEAM.

    If the DPS database is correct and these individuals mark down their correct SSN4 on



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    a mail ballot application, then their application will be rejected because of incorrectly

    recorded data in TEAM.

 102.   Subpopulations: Of the 40,718 individuals whose SSN4s listed on TEAM do not

    match the SSN4s listed in the DPS database

            •   15,544 are over age 65

            •   28,880 voted in the 2020 election

            •   12,015 are over 65 AND voted in the 2020 election

            •    25 have non-US mailing addresses

            •   98 individuals matched to DPS records indicating homebound status or

                disabled veteran status.

 These numbers clearly show that many active voters who are eligible to vote by mail

 under Texas law are listed in TEAM with an SSN4 that is inconsistent with the SSN4

 listed in the DPS database.

 C. Typographical Errors in DPS ID Numbers

 103.   Just as there are discrepancies between the SSNs listed in TEAM and the

    corresponding SSNs listed in DPS, there are also discrepancies in DPS ID Numbers.

    However, they are more complicated to tabulate. For each of the three linkages

    (SSN9, ND, and ADG), I calculate the rate of mismatches on DPS ID between the

    two databases. As Table 14 shows, in over 99% of cases, the DPS ID Number listed

    on TEAM matches one of the DPS ID Numbers listed in the DPS database. (In this

    analysis, for registrants who match to multiple DPS ID Numbers, I count them in the

    “match” column if one of the DPS ID Numbers listed in DPS matches the DPS ID

    Number listed in TEAM.)


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 TABLE 14 Rates of Mismatches on DPS ID Number for Records that Matched on

 SSN9, ND, or ADG


   If matched on…       DPS ID Match          DPS ID No Match         N
   SSN9                      99.59                  0.41          15,692,006
   ND                        99.56                  0.44          15,844,010
   ADG                       99.24                  0.76          12,536,045


 104.   Table 15 calculates Levenshtein distances between the DPS ID Numbers recorded

    on TEAM and the DPS ID Numbers recorded on DPS. The table makes the

    calculation for the less than 1% of individuals who have mismatched DPS ID

    Numbers. For individuals on TEAM whose records match to multiple DPS ID

    Numbers, the table reflects the DPS ID Number on the DPS database that is closest

    (i.e. has the lowest Levenshstein distance).




 TABLE 15: Levenshtein Distance Measures between DPS ID Number on DPS and

 DPS ID Number on TEAM for records that match on SSN9, ND, or ADG


                                  SSN9    ND     ADG
                              1   25.36% 26.05% 15.71%
                              2      6.94   7.22   4.51
                              3      1.25   1.33   1.13
                              4      2.20   2.22   2.47
                              5      8.58   8.35   9.93
                              6     22.54  21.64  25.92
                              7     24.89  24.70  29.76
                              8      8.24   8.49  10.57
                              N    64,346 68,959 94,870




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 105.   As Table 15 shows, about 20-33% of mismatched DPS ID Numbers are off by

    just one or two digits. The majority of those with mismatched DPS ID Numbers show

    entirely different DPS ID Numbers. For example, consider the 64,346 individuals

    (Table 15, Column 1) who have a DPS ID Number and SSN9 listed on TEAM. They

    were matched to DPS records based on their SSN9. However, a comparison between

    the DPS ID Number listed in TEAM and the DPS ID Number listed in the DPS

    database show mismatching DPS ID Numbers. While a third of these are just off by

    one or two digits (suggesting typographical errors), most are showing completely

    different DPS ID Numbers.

 106.   Why does this occur? In some of the cases where the DPS ID Numbers are

    completely different, it is because these individuals in TEAM have a typo in their

    social security numbers rather than their DPS ID Numbers. When they match to a

    record in the DPS ID database based on their SSN9, they are actually matching to a

    different person (i.e. they match to the person who has the social security number that

    is incorrectly recorded for them). In other cases, these registrants may be matching to

    the right record in DPS, but the DPS database shows an entirely different DPS ID

    Number than is shown in TEAM.

 107.   In order to provide an estimate of the number of registrants who have a DPS ID

    Number listed in TEAM that is different than the DPS ID Number listed in DPS, I

    cannot count all the results in Table 15. Some of these individuals might have an

    accurate DPS ID Number but they have an inaccurate SSN9, so if they just use their

    DPS ID Number when submitting a mail ballot application, their application would

    not be rejected.




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 108.   Thus, I will use conservative estimate of faulty DPS ID Numbers. I use the lowest

    Levenshtein distance of any of three linkages (SSN9, ND, ADG). An example will

    help explain this. Suppose John Smith has a typo in his SSN9 as it is listed in TEAM.

    His SSN9 is XXX-XX-XXXX, but it is listed in TEAM as XXX-XX-XXXX. When I link his

    record to DPS, his links to another person’s records. She is Jane Doe, and her SSN9 is

    XXX-XX-XXXX. Now, when I compare the DPS ID Number on John Smith’s TEAM

    record to the DPS ID Number on the record he matches to (Jane Doe’s record), the

    DPS ID Numbers are completely different. They might have a Levenshtein distance

    of 6, 7, or 8.

 109.   However, I also link John Smith to his DPS record based on his ND and ADG

    combinations. In those linkages, Smith links to his actual record in DPS. If there are

    no typos or other discrepancies in how his DPS ID Number is stored, he would have a

    Levenshtein distance of zero, and I would not treat this as a problematic record with

    respect to the DPS ID Number. (I would, of course, treat it as a problematic record

    with respect to the faulty SSN9). However, suppose that Smith also has a typo or

    other discrepancy in his DPS ID Number. On TEAM, his DPS ID Number would

    read 11223345, but on the DPS database his DPS ID Number would read 11223344.

    The comparison between these numbers would generate a Levenshtein distance of 1.

 110.   For each person in TEAM, I thus calculate the Levenhstein distance between their

    DPS ID Number listed in TEAM and the closest DPS ID Number they link to in the

    DPS database. By this conservative estimation method, I calculate that 68,190

    individuals do not have a DPS ID Number in TEAM that matches any DPS ID

    Number in DPS.




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   111.   Subpopulations: Of the 68,190 individuals on TEAM who match to DPS on

      SSN9, ND, and ADG, but do not have DPS ID Numbers that correspond to the DPS

      database,

              •    17,270 are over age 65

              •    34,187 voted in the 2020 election

              •    11,690 are over 65 AND voted in the 2020 election

              •    18 have non-US mailing addresses

              •    370 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

VIII. Summary of Results

   112.   To comply with the identification verification requirements in SB 1, registered

      voters who have a DPS ID are instructed to record their ID number on a mail ballot

      application and again when submitting a mail ballot. If they do not have an ID

      number, they must record their SSN4.

      a. 276,405 registered voters are not listed in TEAM with a DPS ID, but they do have

          a DPS ID. These individuals are instructed to list their DPS ID, but when they do

          so, their ballot or ballot application will be rejected.

              i.   Of these, 155,583 are over 65 years old, 59,567 of whom voted as

                   recently as the 2020 general election.

             ii. Of these, 1,155 have overseas addresses or are listed as disabled veterans

                   or as homebound citizens.

      b. 2,213,676 individuals who are listed on TEAM with an associated DPS ID have

          more than one DPS ID Number. If they happen to write down a DPS ID number



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             that is correct but is not the DPS ID number recorded in TEAM, their ballot or

             ballot application will be rejected.

                 i. Of these, 189,699 are over 65 years old, 114,129 of whom voted as

                    recently as the 2020 general election.

                ii. Of these, 5,585 have overseas addresses or are listed as disabled veterans

                    or as homebound citizens.

         c. 44,444 individuals have SSN4s listed in their TEAM records that do not match

             the SSN4s listed in the DPS database.

         d. At least 68,190 individuals who are listed on TEAM registration records with a

             DPS ID Number do not show the same DPS ID Number listed in the DPS

             database.

      113.   Altogether, over 2.6 million registered voters in Texas (out of 17 million) are at

         risk of having a mail ballot or mail ballot application rejected due to identification

         number requirements in SB 1. These numbers do not include individuals who have

         misplaced or surrendered their IDs or who mis-enter information on a mail ballot

         form. These 2.6 million individuals can correctly fill out their forms, but their

         applications and ballots would be rejected nonetheless.

IX.      Conclusion

      114.   The identification number requirements of SB 1 require election officials to reject

         mail ballots and mail ballot applications from a large number of voters due to

         limitations and errors in the state’s record-keeping practices rather than due to any

         limitations or oversights on the part of eligible voters. Texas’s databases are simply

         not well-suited to SB 1’s demands. The law demands that those who have a DPS ID




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          list the ID number on mail ballot applications. Yet, many of these ID numbers are not

          stored by Texas on its voter registration records. The law demands that some

          registrants include social security number information. But the state database has tens

          of thousands of typos in its recording of Texans’ social security numbers. The

          database has even more typos in its recording of Texans’ DPS ID Numbers. The law

          demands that voters list one of their DPS ID numbers when applying for a mail ballot,

          but millions of voters have more than one DPS ID number, and election official are

          only able to validate one of them.

      115.   The disconnect between the quality and completeness of Texas’s records versus

          the demands of SB 1 results in election officials delaying and/or preventing citizens

          from casting ballots who follow all the rules and are eligible to vote by mail. As I

          have shown, over 2.6 million Texans can follow all the rules and instructions set forth

          by SB 1 when applying for, or submitting, an absentee ballot, and they still face a

          substantial risk that their applications and ballots will be rejected. Those affected

          include Texans living overseas, disabled veterans and homebound citizens living at

          home, plus over 350,000 senior citizens.

      I declare under penalty of perjury under the laws of the United States that the forgoing is
      true and correct to the best of my knowledge.


DATED this 28th Day of February, 2022.




      ________________________
      Eitan Hersh



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                                            C URRICULUM V ITAE

                                                      E ITAN H ERSH



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Employment
Associate Professor, Political Science
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   Assistant Professor, Political Science
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Education
Ph.D. in Political Science, Harvard University (2011)
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B.A. in Philosophy, Tufts University, summa cum laude (2005)


Books
Eitan Hersh. The Golden Rulers: Business, Wealth, and Civic Leadership in America. Current book project, in development.
Eitan Hersh. 2020. Politics is for Power: How to Move Beyond Political Hobbyism, Take Action, and Make Real Change. New York:
Scribner.
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Polarization,” Symposium in PS: Political Science and Politics, Symposium proposal accepted.
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Jewry.
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proach.” Journal for the Scientific Study of Religion 60 (4): 709-725.
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guest editor of special issue, Journal of Health Politics, Policy, and Law 44, 2019.
   Eitan Hersh, “In a Deep Blue or Red State? You Can Still Influence Politics," New York Times, October 29, 2018.
   Eitan Hersh, “Political Hobbyists are Ruining the Country," New York Times, July 2, 2017.
   Eitan Hersh, “The Most Dangerous Hobby,” Boston Globe, May 3, 2016.
   Occasional essays in media outlets such as the Washington Post’s Monkey Cage and FiveThirtyEight
   Justin Grimmer, Brian Feinstein, Eitan Hersh, and Daniel Carpenter, “Are Close Elections Random?” Working Paper.
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Teaching
“Information, Technology, and Political Power”
“U.S. Elections: Rules, Strategies, Outcomes”
“Advanced Seminar on U.S. National Elections”
“The Flow of Power: Civic Journalism”


Awards & Fellowships
Emerson Collective Fellowship, 2022
Grant for Antisemitism study, Klarman Family Foundation and One8 Foundation, 2020
Best Book in Information, Technology, and Politics, APSA, 2016
Pi Sigma Alpha award for best paper presented at MPSA, 2013
MPSA Emerging Scholar award, 2013



Referee Service
American Journal of Political Science American Political Science Review, American Politics Research, American Sociological Review,
British Journal of Political Science, Economics and Politics Election Law Journal, Electoral Studies, Journal of Elections, Public
Opinion and Parties Journal of Experimental Political Science, International Journal of Public Opinion Research, Journal of Politics,
Journal of Urban Affairs Legislative Studies Quarterly, Political Analysis, Political Behavior, Political Psychology, Political Research
Quarterly, Political Science Research and Methods, Politics and Governance, Proceedings of the National Academy of Sciences, PS:
Political Science and Politics, Public Opinion Quarterly, Research and Politics, Review of Economics and Statistics, State Politics and
Policy Quarterly.


Invited Talks
    I have given presentations at annual meetings of the American Political Science Association, Midwest Political Science Associa-
tion, and Society for Political Methodology.
    I have given invited talks at Boston University, BYU, Columbia, Chicago, Dartmouth, Harvard, Harvard Kennedy School, Harvard
Medical School, McGill, MIT, NYU, UCLA, University of Massachusetts-Amherst, Michigan, UNC, UPenn Annenberg School,
Princeton, Stanford, Stanford Law School, Washington University-St. Louis, Yale, and Yale Law School.



Consulting & Service
Editorial Board, Election Law Journal, 2020-
Academic Advisor, Free Expression Survey, Knight Foundation, 2021-2022.
Academic Advisor, Antisemitism Survey, Anti-Defamation League, 2021-2022.
Member, Brookline, MA, Select Board’s Taskforce to Reimagine Policing, 2020-2021
Academic Advisor, 100 Million: Nonvoter Study, Knight Foundation, 2019-2020.
Witness, United States Senate Committee on the Judiciary, May 16 2018
(Facebook/Cambridge Analytica scandal)
Commissioner, Commission on Youth Voting and Civic Knowledge, CIRCLE, 2012-14
Statistical Consultant, Texas v. Holder (Voter ID case)
Statistical Consultant, Veasey v. Perry (Voter ID case)
Expert, Judicial Watch, et al v. King, et al, Indiana Voter Registration Case
Expert, Fish v. Kobach, Kansas Voter Registration Case
Expert, Stringer, et al v. Pablos, Texas Voter Registration Case
Expert, United States v. Eastpointe, MI, Voting Rights Act case
Expert, Collins v. Adams, Kentucky Voter ID case
Expert, LULAC of Iowa v. Iowa Secretay of State, Absentee ballot case
Expert, Vote Forward v. DeJoy US Post Office mail ballot case
Expert, Holmes v. Moore North Carolina Voter ID case
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                                  Second Supplement to
      Report on Identification Number Requirements for Mail Balloting under SB 1


                                  United States v. Texas


              United States District Court for the Western District of Texas




___________________
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February 3, 2023


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I.        Abstract

1. This report contains three analyses. First, using new data supplied to me in January 2023,

      I calculate the number of registered voters in Texas whose registration records indicate

      that they could have a mail ballot application or carrier envelope rejected on account of

      identification verification requirements imposed by Senate Bill 1 (“SB 1”). My analysis

      shows similar results as in two prior expert reports that I have filed in this case. I find that

      1 in 7 Texans can accurately and completely fill out a mail ballot application and the

      application could still be rejected on account of SB 1’s verification procedures.

2. Second, I conduct an analysis of rejected mail ballots during the first federal election held

      since the passage of SB 1, the November 2022 election. Among other findings, I show

      that the overwhelming majority (more than 80%) of rejected mail ballots were rejected on

      account of SB 1 identification rules.

3.    Third, I analyze the behavior in the November election of individuals who I have flagged

      as having records that could lead to mail ballot rejections. Those deemed at risk have a

      significantly lower rate of successfully voting by mail than the general population.



II.       Replication of Previous Analyses and Meta-Analysis

4. In a February 28, 2022 report (“Initial Report”), I described a methodology for evaluating

      the number of Texans who were particularly vulnerable to having a mail ballot

      application rejected on account of identification verification rules in SB 1. For several

      reasons, a registered voter could fill out a mail ballot application (or mail ballot carrier

      envelope) correctly but the materials would be rejected by election officials:




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          a. Many Texans have multiple identification numbers because they have

              multiple Department of Public Safety IDs (“DPS IDs”). But Texas only stores

              up to one DPS ID Number on its list of registered voters (the Texas Election

              Administration System, or “TEAM”). If a registrant lists a correct DPS ID

              number on mail ballot materials but not the number that happens to be listed

              in TEAM, the voter’s mail ballot or mail ballot application will be rejected.

          b. Some Texans are listed on TEAM without a DPS ID Number. Many of these

              individuals do in fact have DPS IDs. They are instructed by the language in

              the mail ballot application and on the carrier envelope to list only their DPS

              ID when filling out mail ballot forms. However, because their DPS ID

              Number is absent from TEAM, their materials will be rejected.

          c. Administrative records are not perfect. Tens of thousands of Texans are listed

              on TEAM with typos in their Social Security numbers (“SSN”) and/or their

              DPS ID numbers. When a registered voter fills out a mail ballot application

              (or ballot carrier envelope) correctly, the material will be rejected on account

              of these administrative typos.

5. In my Initial Report, I established a methodology for linking TEAM records to DPS

   records in order to count the number of individuals who might have their materials

   rejected. In addition to explaining the methodology, I was able to test the validity of the

   methodology. I reported that 1 in 7 registered voters in Texas could have their mail ballot

   materials rejected on account of SB 1 even if they followed instructions correctly. I

   concluded that “Texas’s databases are simply not well-suited to SB 1’s demands”

   (Paragraph 114). On account of incomplete records as well as typos and other




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   inconsistencies across state databases, the law can prevent citizens from voting. I

   conducted subgroup analyses to show that the affected population includes many senior

   citizens, Texans living overseas, disabled veterans and homebound citizens, all of whom

   rely on mail voting more than the general population.

6. In a May 4, 2022 supplemental report (“First Supplemental Report”), in addition to some

   new analyses, I replicated the analysis described above with updated DPS and TEAM

   records. Whereas DPS and TEAM data in the Initial Report were produced in January

   2022, data in the First Supplemental Report were produced by the State in March and

   April 2022. The results were substantively the same.

7. In January of 2023, I received yet another update to DPS and TEAM records. The DPS

   records were drawn in December of 2022, and the TEAM records were compiled in early

   January 2023.

8. In Appendix A to this report, I describe the details of this additional replication with the

   new data from December 2022/January 2023. In Table A, here, I provide the top-line

   summary statistics from that analysis and place the results in context, alongside results

   from the Initial Report and First Supplemental Report.




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 TABLE A: Summary of Results from Three Analyses of DPS and TEAM Records


                                   Initial Report       First Suppl.         Second Suppl.
                                                          Report                Report
                                 February 2022           May 2022            January 2023
No DPS ID in TEAM;
                                      276,405              209,137                189,095
Possesses DPS ID
One DPS ID in TEAM;
                                     2,213,676            2,392,733               2,394,435
Possesses Multiple DPS IDs
Typo/Inconsistent SSN4 in
                                      44,444               44,915                  44,353
DPS vs TEAM
Typo/Inconsistent DPS ID
                                      68,190               74,897                  62,461
in DPS vs TEAM
Total Issues                        2,602,715             2,721,682             2,690,344
Total TEAM Records                  17,026,054           17,330,189            17,451,752
Issues/Total (Percent)                15.3%                 15.7%                 15.4%


9. As the first line of data in Table A shows, the results indicate a decline in the number of

    individuals who are listed in TEAM without a DPS ID Number but who do in fact

    possess a DPS ID Number. The number went from 276,000 when I first ran the analysis a

    year ago to 209,000 a few months later, to 189,000 in the current analysis.

10. During the same period, the number of Texas registered voters who are listed in DPS

    with more than one DPS ID number has increased from 2,214,000 to 2,393,000 to

    2,394,000. As noted in the Initial Report, according to SB 1, a voter may use a current or

    expired ID in filling out mail ballot materials, but TEAM only stores zero or one ID

    number per registered voter.

11. The number of typos or other data errors in the storage of Social Security numbers

    (specifically in the last four digits of the Social Security numbers (“SSN4”)) is nearly

    exactly the same across the three analyses. The number of typos or errors in DPS ID

    numbers went from 68,000 to 75,000 and then down to 62,000. The last rows of Table A

    summarize the total number of issues and divides these by the total number of TEAM



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       records. The analysis was performed three times over the course of twelve months with

       three different snapshots of Texas administrative data. The results are consistent, with 15-

       16% of records affected by issues that might lead to ballot materials being rejected on

       account of SB 1 requirements, even with voters dutifully following mail ballot

       instructions.



III.      Analysis of November 2022 Federal Election

12. In this section, I analyze mail ballot data from the November 2022 federal election. First,

       I measure the consistency between statistics reported by Texas and the January 3, 2023

       data transmitted to me regarding participation in the November election. Then, I report

       three key findings.

          a. I estimate that the initial mail ballot rejection rate in Texas at 4.1%. This is higher

              than the final rejection rate of 2.7% that Texas has reported.

          b. I estimate that over 80% of rejected mail ballots are rejected on SB 1 grounds. I

              count 5 Federal Post Card Application (“FPCA”) voters—military and overseas

              voters—whose ballots were rejected on SB 1 grounds.

          c. I estimate that more than 50% of individuals who are flagged for having a mail

              ballot rejected due to SB 1 did not end up voting in the November election, either

              by mail or in person.




                                                                                                   6
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    13. According to the website of the Texas Secretary of State, in the November 2022 election,

         7,775,713 votes were cast in person and 359,526 ballots were cast by mail. 1 2 The count

         of 359,526 mail ballots submitted is higher than 345,697, which is the count provided by

         state officials to the media. 3 It is also higher than 345,679, which is the count disclosed

         by Texas in court documentation in January 2023. 4

    14. In the January 2023 TEAM database I received, there are 8,178,445 voter history records

         associated with the November 8, 2022 election. However, about 70,000 of these records

         are instances of registrants who are listed on more than one line of the TEAM database,

         for instance a line representing that they requested a mail ballot but another line

         representing that they actually voted in person.

    15. In order to gauge turnout as it is represented in the TEAM records, I retain only the most

         recent voter history record for each registrant, by selecting the date listed as most recently



1
  See “November 08, 2022 GENERAL ELECTION Cumulative Totals Thru Close of Business November 08, 2022”
https://earlyvoting.texas-election.com/Elections/getElectionEVDates.do. The counts as reported by Texas here are
dynamic and are regularly updated. The counts listed reflect numbers as of January 30, 2022. The mail ballots in this
tabulation come from county numbers and appear to reflect ballots submitted rather than ballots officially counted.
This is evidenced by the fact that the state website records ballots submitted as early as October 2, 2022, a date prior
to when signature verification committees began to meet and review mail ballots. For information on the timeline
for reviewing ballots, see: “Early Voting Ballot Board & Signature Verification Committee, Handbook for Election
Judges and Clerks 2022,” Texas Secretary of State Elections Division. See Page 9: “A [signature verification]
committee may not begin operating before the 20th day before election day.”
https://www.sos.state.tx.us/elections/forms/ballot-board-handbook.pdf.
2
 Note that there is more than one way to tabulate voter turnout. For instance, elsewhere on its website, the Texas
Secretary of State’s office refers to ballots counted in the gubernatorial election (the highest office on the ballot in
2022) as its voter turnout. See Texas Secretary of State, “Turnout and Voter Registration Figures (1970-current),”
https://www.sos.texas.gov/elections/historical/70-92.shtml. For matching turnout statistic in gubernatorial election,
see Texas Secretary of State, “Official Canvas Report,” Page 8, https://results.texas-
election.com/static/data/Reports/47009/OfficialCanvassReport.pdf?v=1673559121148.
3
 Ashley Lopez, “Despite Mail Voting Changes, Ballot Rejections Remain Relatively Low in 2022 Midterms,” NPR,
January 13, 2023.
4
 See “State Defendants’ Supplemental Objections and Responses to the United States’ Second Set of
Interrogatories,” Page 13, United States v. Texas, January 19, 2023.



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         updated. After this procedure, all in-person ballots cast (election day ballots and early

         ballots, including provisional ballots) yield a tally of 7,775,194. This number is nearly

         identical to the count of 7,775,713 in-person ballots received according on the State’s

         website as referenced above. Since the website is continuously updated but the voter file I

         received is static and dated January 3rd, it is expected that the number counted on the

         website would be slightly higher than tabulated based on the static voter file. Note that

         some of these ballots (5,901 of them) have a code indicating that they were ultimately

         rejected. Nearly all the others (7,768,874) have a code indicating that they were accepted.

         The remaining 419 records have neither an accepted nor rejected code. 5

    16. 378,487 other records have a code associated with a mail ballot. Nearly all of these have

         one of the following “ballot status” codes:

         TABLE B: Ballot Status Codes of Mail Ballot Records in November 2022 Election


                        CODE Definition                                            Count
                        AB     Absentee ballot received                              1,492
                        AC     Absentee ballot cancelled by voter                   16,420
                        AM     Absentee ballot mailed                               29,719
                        AV     Absentee ballot accepted                            322,423
                        AX     Absentee ballot rejected                              8,366
                        RB     Absentee ballot returned by PO                           20
                        (No Code)                                                       47



    17. Of these records, the total ballots submitted are those with codes AB (Absentee ballot

         received), AV (absentee ballot accepted), and AX (absentee ballot rejected). These sum



5
  The method of voting is defined by a field in the database called “ballot type.” The rejected/accepted status comes
from a different field, called “ballot status”. For in-person ballot types, 7,768,874 have a code of “A” (accepted);
5,901 have a code of “R” (rejected); and 419 have no code.



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        to 332,281. 6 The other codes reflect ballots that either never reached the voter (returned

        by Post Office) or were received by the voter but the voter never mailed back the ballot

        or else cancelled the request.

    18. This number (332,281) is lower than the other counts mentioned above, both in public

        reports (345,697 ballots received) and in the State’s count on its website (359,526 ballots

        received). One possible explanation for the discrepancy is if those sources include in their

        counts ballots that were cancelled by voters. Adding in these 16,420 records would bring

        the voter file count up to 348,701. However, based on the codes and definitions made

        available to me, I will count ballots submitted as only those that have the codes of AB,

        AV, or AX.

    19. According to the January 2023 data, there are 18,187 records listed with a reason that a

        ballot was rejected. Of these, 13,638 were mail ballot rejections. About 40% of records

        that indicate a reason for a mail ballot being rejected have a status code that indicates the

        ballot was accepted. Presumably, these are cases in which a ballot was initially rejected

        but eventually cured and accepted. Of all the mail ballot rejections, 11,430 (83.8%) have

        a code indicating that identification verification was the reason for the rejection. 7 With

        13,638 rejections and 332,281 mail ballots submitted, the rejection rate is estimated as

        4.1%. This number is higher than the publicly reported rate of 2.7%. 8



6
 If one calculates this number without removing the duplicate voters listed in TEAM, as described above, the total
count of submitted ballots would nevertheless be quite similar: 332,885.
7
  These codes are: IS, ISR, EVBIS, EVBISR, EVCIS, EVCISR, and ISF. The first two of these codes are identified
in Defendant’s disclosed document STATE057755. The remaining codes are identified by county disclosed
documents, such as Dallas County document, MS016221.
8
  According to NPR, 9,348 of 345,697 mail ballots were rejected. These numbers are based on “NPR inquiries with
state officials.” Ashley Lopez, “Despite mail voting changes, ballot rejections remain relatively low in 2022
midterms,” NPR, January 13, 2023


                                                                                                                     9
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    20. Among those with rejected ballots include 5 individuals who use Federal Post Card

         Applications, which are voter registration forms used by members of the military, their

         families, and American citizens who are residing overseas.

    21. Of the 11,430 records indicating voters who were rejected on SB 1 grounds, less than half

         of them (44.4%) are associated with a registrant whose record also shows that they were

         able to vote either by mail or in person. Most (55.6%) failed to vote successfully

         following their ballot being rejected.

    22. If one calculates the rate of rejected ballots as those that appear as uncured in the TEAM

         file, the rejection rate would be lower than 4.1%. For example, of all 13,638 records

         listed with a reason that a mail ballot was rejected, 8,306 show no indication that the

         registrant successfully voted, whether by curing the mail ballot or cancelling the mail

         ballot and voting in person. If we divide 8,306 by the sum of 8,306 and 322,423 (the

         number of successful mail votes), then the uncured/uncanceled rejection rate would be

         2.5%, which is close to the rejection rate of 2.7% reported by the State. Such a

         calculation does not take into account those voters who, in order to resolve a rejection

         attributable to SB 1, needed to vote in person rather than by mail.

    23. The analysis above suggests a mail ballot rejection rate of 4.1% and an

         uncured/uncanceled rejection rate of 2.5%. However, estimates of rejection rates must be

         observed with caution, as some cured ballots may have had their codes in TEAM

         overridden once they were cured. According to Kristi Hart, the State’s Director of

         Election Administration and Voter Registration, TEAM records that are rejected but

         eventually cured would have the rejection flag overridden. 9 At the same time, in some


9
 Deposition transcript of Kristi Hart, Director of Election Administration and Voter Registration, Office of Texas
Secretary of State, Pages 133-135, United States v. Texas, June 30, 2022.


                                                                                                                     10
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           cases registrants have multiple records on TEAM, one indicating a rejection and one an

           accepted form. Thus, from the TEAM data alone, it is not possible to offer a definitive

           account of the number of ballots rejected and cured. The numbers reported here reflect

           what can be discerned with the available data.

     24. In comparison to the March 2022 primary, which was the first election held under SB 1

           rules, two facts are apparent. First, the rejection rate reported in the March 1, 2022 state

           primary was higher than in November; 12% of ballots were reportedly rejected in

           March. 10 Second, a smaller share of voters who cast ballots did so by mail in November

           2022 (4.4% according to the State’s reporting) compared to the share in March 2022

           (5.6%). 11



     IV.       Relationship between Records Flagged and Mail Voting in 2022 Election

     25. The first part of the analysis in this report showed that 15% of Texas registered voters

           could have a problem voting by mail on account of SB 1. The second part of the analysis

           showed that some 4% of mail voters had ballots rejected on account of SB 1

           identification rules. Here, I will briefly put these two analyses in context of one another.

     26. As I noted in my First Supplemental Report, a useful analogy to the problems identified

           here is that of a hospital that has poor record-keeping practices. Suppose the hospital had

           incorrect records for 15% of the population. In any one year, few people go to the

           hospital, so it isn’t the case that 15% of the total public will be mistreated by the hospital

           on account of poor record-keeping. But when those in that 15% “at-risk” population



10
   Robert Garrett, “Rejection of Texans’ Mail Ballots Decline Markedly from the Big Surge in March Primary”,
Dallas Morning News, Dec 23, 2022.
11
   https://earlyvoting.texas-election.com/Elections/getElectionDetails.do.


                                                                                                               11
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         suddenly need to visit the hospital, they may be inconvenienced or harmed on account of

         the record-keeping. The analogy is helpful because it clarifies that while there is a large

         pool of citizens at risk of having a problem, most will not be confronted with that

         problem in any one election year.

     27. Consider the 2.7 million records of registrants whose data demonstrate a possible barrier

         to meeting SB 1 requirements. I merge these with the records of individuals who

         requested a mail ballot in November 2022. Of all the 2.7 million registrants with record

         issues, 28,437 requested a mail ballot. It is not surprising that only a small percent of

         these 2.7 million voters requested a mail ballot, as only about 2% of all registered voters

         in Texas voted by mail in the November election. 12 Among those 28,437 registrants who

         tried to cast a mail ballot, 6,380—or 22.44%—never cast a successful mail ballot. These

         registrants include those rejected due to SB 1 and those rejected for reasons other than SB

         1, as well as those who never returned their ballot or returned their ballot late. In

         comparison, among those registrants who are not in the “at risk” pool of the 2.7 million

         voters, only 16.17% of them who began the mail voting process never cast a successful

         mail ballot (a statistically significant six percentage-point difference, p < .0001). Again,

         this baseline of 16.17% includes those whose mail ballot applications or ballots are

         rejected for reasons unrelated to SB1 as well as individuals who do not end up returning a

         mail ballot at all or returning it late. The fact that the subpopulation of 2.7 million has a




12
  According to Texas, in November 2022, there were approximately 346,000 mail voters and 17,672,000
registrants, so 2% of all registrants cast a mail ballot. This figure represents the percentage of all registered voters
who cast mail ballots in November 2022, rather than the percentage of voters who cast ballots in the November
2022 election who did so by mail, as discussed in Paragraph 24. For mail ballot estimates, see above. For
registration counts, see: https://www.sos.texas.gov/elections/historical/70-92.shtml.


                                                                                                                       12
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     much higher rate of non-voting by mail conditional on requesting a ballot is likely to be

     related to SB 1 requirements.

V.      Conclusion

28. In this analysis, I have replicated my main analysis for the second time. The analysis

     shows (as it has shown twice before) that about 15% of registration records in Texas

     could have an issue with the SB 1 identification verification rule if the registrant was to

     apply to vote by mail. Second, I have shown that while only 2% of registrants voted by

     mail in the 2022 general election, more than 11,000 ballots were rejected on account of

     SB 1 identification issues. Most of the individuals who submitted those rejected ballots

     did not successfully vote, either by mail or in-person. Third, I have shown that “at-risk”

     registrants who tried to cast a ballot by mail in the 2022 general election were

     significantly less likely to successfully vote by mail than individuals who are not in the

     pool of the 2.7 million “at-risk” registrants.



     I declare under penalty of perjury under the laws of the United States that the forgoing is
     true and correct to the best of my knowledge.


     DATED this 3rd Day of February, 2023.




     ________________________
     Eitan Hersh




                                                                                                   13
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   APPENDIX A: REPLICATION OF ANALYSIS USING DEC 2022/JAN 2023

          VERSIONS OF DATA


A. Databases

1. DPS. The updated DPS database I received is dated December 17, 2022. The database

   contains 37,377,423 records, an increase of almost a million records from the 36,417,304

   records identified in the March 2022 data I analyzed in my prior supplemental report. As

   in the versions previously analyzed, the December 2022 version of the data has complete

   or nearly complete records in all fields of interest (e.g., name, date of birth, address,

   gender) except that 5% of records are not populated with Social Security numbers, which

   was also the case in the prior versions. Table 1 below updates Table 1 of my Initial

   Report with the new data.

2. The percent of DPS records with missing SSNs has declined from 5.02% in the Initial

   Report to 4.98% in the First Supplemental Report, to 4.85% here. The percent of records

   missing a unique SSN9 (i.e., the number of SSNs associated with more than one DPS ID

   Number) has increased from 21.6% to 27.5% here (the First Supplementary Report had

   this rate even higher, at 28.7%).

   TABLE 1: Rate of Missing Information in DPS


                         Missing SSN                        4.85%
                         Missing unique SSN9                 27.49
                         Missing First Name                   0.00
                         Missing Last Name                    0.00
                         Missing Birthdate                    0.00
                         Missing M/F Gender                   0.00
                         Missing Street Number                0.03
                         Missing ZIP Code                     0.00
                         TOTAL IN DATABASE              37,377,423



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       3. TEAM. The updated version of TEAM records is dated January 3, 2023. The TEAM data

           was transmitted to me as a single data file. (In prior transmissions, the data had been

           stored by county in separate files). Registered voters can be listed on many lines within

           the file. For instance, Texas counts 28,868 registered voters in Anderson County as of

           January 2023. 13 In the January 2023 TEAM export I received, there are 57,459 rows of

           registrants in Anderson County. Different rows show different interactions that

           registrants have had with the election system. I processed the data so that each person,

           represented by their Voter Unique Identification Number (VUID), is listed one time.

           Specifically, I observed the dates labeled “ballot_last_updated” and retained the most

           recent date for each registrant. I also retained registrants who had no date listed in this

           field.

       4. After the de-duplication process, the January 2023 TEAM file consists of 17,451,752

           records. I sought to confirm that this number is close to the State’s official reporting.

           According to the Secretary of State’s website, as of January 2023, there were 17,450,474

           registered Texas voters. Given the typical fluctuation in registration numbers, a

           difference of less than 0.01% suggests the data I have been given by the State is

           consistent with the State’s publicly reported information.



       B. Data Quality Checks in the TEAM Voter Records

       5. I performed the same set of data quality checks as described in my prior reports. Tables 2

           and 3 offer summary statistics on key fields of interest. In the updated data, 2.27% of

           records are missing SSN (compared 2.52% in March 2022 and 2.34% in January 2022).



13
     https://www.sos.state.tx.us/elections/historical/jan2023.shtml


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   In the January 2023 data, 2.62% are missing a DPS ID Number (compared to 2.85% in

   April 2022 and 3.16% in January 2022).

6. The numbers are all similar to those in my previous reports, with one exception. In the

   January 2023 data as well as the January 2022 data, less than 1% of records are missing

   street number and ZIP code. In the March 2022 data, over 20% of the records were

   missing this information.



   TABLE 2: Rates of Missing Information in TEAM


                        Missing SSN                       2.27%
                        Missing Unique SSN9                 5.86
                        Missing First Name                  0.00
                        Missing Last Name                   0.00
                        Missing Birthdate                   0.01
                        Missing M/F Gender                  3.65
                        Missing Street Number               0.07
                        Missing ZIP Code                    0.03
                        TOTAL IN DATABASE             17,451,752



       TABLE 3: Summary of Field Completeness in TEAM


      TOTAL Records in TEAM analysis                17,451,752
      Records with unique SSN9                      16,428,895               94.14%
      Records with SSN4                             17,056,442                 97.73
      Records with DPS ID Number                    16,994,311                 97.38
      Records lacking SSN4 and DPS ID No.               93,208                  0.53




C. Methodology

7. The methodology employed is the same as in my Initial Report. See Paragraphs 50-73 in

   that report for a detailed explanation. My goal is to look up each registered voter in the



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     DPS database and determine if the registered voter has one (or more) DPS ID Numbers

     listed, and to see if there are typos or other inconsistencies between the DPS ID Numbers

     and SSN4s listed on TEAM versus those listed on the DPS Database. I create three

     linkage fields to connect the TEAM and DPS databases together. The first field is the

     nine-digit Social Security number (SSN9). The second field is the combination of name

     (First and Last) and date of birth. I call this linkage field “ND” for Name + Date of Birth.

     The third field, a combination of Address (Street Number and ZIP code) + Date of Birth

     + Gender, I call “ADG”. Table 4 (a replica of Table 6 from my Initial Report) illustrates

     the three linking fields with an example of a fictional registered voter named John Smith.

     TABLE 4: Summary of Fields Used in Linking TEAM Database to DPS Database


Field Name    Explanation                                 “John Smith” example
SSN9          9-digit Social Security number              “XXX-XX-XXXX”
ND            First name + Last name + Date of birth      “JOHNSMITH1976-07-04”
ADG           Address + Date of birth + Gender            “655782051976-07-04M”


  8. As in the prior reports, in addition to calculating statistics for the whole population of

     registered voters, I also look at several subpopulations, including registrants over 65,

     registrants who voted in 2020, registrants who have homebound/disabled veteran

     statuses, and registrants who are listed with specific codes in TEAM signaling that they

     have applied using Federal Post Card Application (FPCA) registration forms, which are

     voter registration forms used by members of the military, their families, and Americans

     who are residing overseas. I refer to these as FPCA voters. In the April report, I did a

     separate analysis of “voluntary surrender” designations in DPS records, but I concluded,

     based on disclosures from Texas, that these designations did not contain sufficient

     information to determine if the citizen holding a surrendered card would or would not be



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   able to use the ID card for the purposes of mail voting. Accordingly, I do not repeat the

   analysis of surrendered licenses here.

D. Linkage Part I: TEAM Records with missing DPS ID Numbers

9. I divide the analysis into two parts. First, I examine individuals whose TEAM records do

   not show any DPS ID Number. Second, I examine individuals whose TEAM records do

   show a DPS ID Number.

10. Out of 17,451,752 records in TEAM, 457,441 do not have a DPS ID Number listed in the

   voter registration records. If any of these individuals actually has a DPS ID Number, they

   are instructed by the mail ballot forms to include that DPS ID Number (and only that

   identification number). But SB 1 requires these forms—the application and the ballot

   carrier envelope—to be rejected because the DPS ID Number is not listed within

   registration records.

       TABLE 5: TEAM records by Presence/Absence of Unique SSN9 and DPS ID

       Number


                                       Unique SSN9
                                       Present    Absent TOTAL
                DPS ID     Present     16,340,755 653,556 16,994,311
                Number     Absent        88,140   369,301  457,441


11. I link the 457,441 individuals who do not have DPS ID Numbers recorded in TEAM to

   the DPS database using the SSN, ND, and ADG linkage fields.

12. I first link by SSN9. Of the 457,441 individuals without a DPS ID Number in TEAM,

   88,140 have a unique SSN9 listed (as noted in Table 5). Of those, 71.42% match to the

   DPS database by their SSN9. A total of 64.81% of the records match to a single DPS ID

   Number, and 6.61% link to multiple DPS ID Numbers.



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 13. I next link these individuals based on ND. As noted in Table 5, most individuals who lack

    DPS ID Numbers on TEAM also lack an SSN9. However, nearly all of the records have a

    unique ND combination. Of the 457,441 lacking a DPS ID Number on TEAM, 449,224

    (98.2%) have a unique ND. Of those who have a unique ND, 23.72% match to a single

    DPS record and 4.22% match to multiple DPS records.

 14. I next link these individuals based on ADG. Of 457,441 records lacking a DPS ID

    Number on TEAM, 401,073 (87.68%) have a unique ADG. Of those with a unique ADG,

    26.81% match to a single DPS record and 3.48% match to multiple DPS records.

    TABLE 6: Results of Linking TEAM to DPS Records for TEAM Records without a

    DPS ID Number listed


       No Match to DPS      Single Match to DPS      Multiple Match to DPS       Attempted
                                                                                 to Match
SSN9        28.58%                 64.81%                     6.61%                 88,140
ND           72.06                  23.72                      4.22                449,224
ADG          69.70                  26.81                      3.48                401,073
Any          58.36                  36.25                      5.39                454,073


 15. Table 6 summarizes the analysis of records that do not have a DPS ID Number listed on

    the TEAM voter file. Each of the first three rows summarizes a linkage between TEAM

    and DPS based on SSN9, ND, and ADG, respectively. For instance, the first row shows

    that I attempted to match 88,140 records in TEAM based on SSN9. This reflects the

    number of TEAM records without a DPS ID Number that include a unique SSN9. Of

    those, 28.58% did not match to DPS. The others did match.

 16. The bottom row of Table 6 provides the overall summary for the TEAM records lacking

    a DPS ID Number. Of the 457,441 total records lacking a DPS ID Number, I attempted to

    link 454,073 (99.26%) to the DPS database. (The other 0.74% did not have a unique or



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   complete value for SSN9, ND, or ADG). Of the individuals I attempted to find on DPS,

   42% matched to a DPS record. That amounts to 189,095 registered voters. These

   individuals possess a DPS ID Number and therefore are instructed by Texas’s mail ballot

   forms to list their DPS ID Number (and only their DPS ID Number) on their mail ballot

   forms. However, if they follow those instructions and list only that DPS ID Number, SB

   1 requires their ballot applications, and their ballots, to be rejected because the number is

   not listed on TEAM.

17. Subpopulations: Of the 189,095 individuals who match to DPS and have a DPS ID

   Number even though no such number is listed on TEAM,

               •   74,982 are over age 65

               •   52,157 voted in the 2020 election

               •   28,152 are over 65 AND voted in the 2020 election

               •   1,475 have FPCA statuses

               •   391 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM without DPS ID Numbers but do in fact possess DPS ID

   Numbers.

18. Typos in Social Security Number. Among registrants who lack a DPS ID Number

   recorded on TEAM but who match to a record in DPS based on ND or ADG, I compare

   the SSN4 as recorded on the two databases. I find that 3,431 individuals who appear on

   both databases have discrepancies in their SSN4s. If the DPS records of SSN are correct,

   then these 3,431 cases result from inaccuracies on TEAM. They would cause election


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         officials to reject mail ballot forms from citizens who include their correct SSN4 on the

         forms. A voter may include an SSN4 on ballot materials as a precautionary measure

         based on supplemental instructions from election administrators. 14



     E. Linkage Part II: TEAM Records Listed with DPS ID Numbers

     19. I now turn to the analysis of the 16,994,311 records in which a DPS ID Number is listed

         in the TEAM databases. As noted above in Table 5, 96.2% of these records have a unique

         SSN9 associated with them. I first link these records to DPS by matching on SSN9. Of

         16,340,755 records with a unique SSN9 on TEAM, 99.71% match to a record in DPS.

         However, 16.34% of the records match to more than one DPS ID Number.

     20. Next, I link records based on the ND combination, as described in Paragraph 11 above.

         The ND combination is unique for 16,869,025 individuals who have a DPS ID Number

         listed on TEAM. Of these, 97.66% match to a record in DPS. However, 15.89% match to

         more than one DPS ID Number.

     21. Next, I link records based on the ADG combination. The ADG combination is unique for

         16,316,427 individuals who have a DPS ID Number listed on TEAM. Of these, 85.19%

         match to a record in DPS. However, 11.01% match to more than one DPS ID Number.

         TABLE 7: Results of Linking TEAM to DPS Records for TEAM Records with a

         DPS ID Number listed


              No Match to DPS           Single Match to DPS            Multiple Match to DPS            Attempted
                                                                                                         to Match
SSN9                 0.29%                        83.36%                         16.34%                 16,340,755
ND                    2.34                         81.76                          15.89                 16,869,025
ADG                  14.81                         74.19                          11.01                 16,316,427

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  See discussion of the State’s instructions in my Initial Report, Footnote 4, and in First Supplemental Report,
Paragraphs 50-55.


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Any               0.82                     85.07                      14.10              16,980,669


  22. Table 7 summarizes the analysis of records with a DPS ID Number on the voter file.

       Consider the bottom row. Of the 16,994,311 records in TEAM listed with a DPS ID

       Number, I attempted to link 16,980,669 (99.92%) of them to the DPS database. The

       remaining 0.08% did not have a unique or complete record on SSN, ND, and ADG. Of

       these 16,980,669 records, 99.18% matched to a record in DPS. However, many of them

       are listed more than once on DPS, with multiple ID numbers. These 14.10% of records

       sum up to 2,394,435 records. That is, for 2.4 million Texas registered voters who have a

       DPS ID Number listed, they may put a correct DPS ID Number on their mail ballot

       application form but nevertheless have their application (or their ballot envelope) rejected

       because the DPS ID Number they write down, while correct, happens not to be the DPS

       ID Number recorded on the TEAM file.

  23. The 2.4 million figure may be an underestimate. Many DPS ID holders are listed not just

       with one DPS ID Number but they have alternative ID numbers stored as “AKA DL/ID

       Numbers.” Of the TEAM records that linked to a single DPS ID Number, 1,407,010

       of them linked to a record that listed alternative ID numbers in the “AKA DL/ID

       Number” field. During her April 20, 2022 deposition, Sheri Gibson, chief of the Texas

       DPS driver’s license division, explained that these AKA DL/ID numbers are

       identification numbers associated with the ID holder that are either erroneous or originate

       from a prior version of the State’s license system. If registrants use these alternative

       identification numbers when submitting a mail ballot application or mail ballot, they will

       also have their forms rejected because the AKA DL/ID Numbers are not the

       identification numbers on the voter registration records that are associated with these


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   registrants. Because some AKA ID Numbers are considered by DPS to be erroneous or

   otherwise invalid (i.e., not just “expired,” which does not impact validity for SB 1

   purposes), in order to perform a conservative analysis, I focus here on registered voters

   who have multiple DPS ID Numbers exclusive of the AKA DL/ID Numbers.

24. Subpopulations: Of the 2,394,435 individuals who match to multiple DPS ID Numbers,

               •   174,880 are over age 65

               •   1,073,661 voted in the 2020 election

               •   91,469 are over 65 AND voted in the 2020 election

               •   1,325 have FPCA status

               •   5,279 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with a DPS ID Number but possess multiple DPS ID

   Numbers. If they list a DPS ID Number other than the one that happens to be recorded in

   TEAM, SB 1 requires their mail ballot forms to be rejected.

25. Typos in Social Security Number. Looking just at the last 4 digits of Social Security

   numbers, I calculate the number of individuals in TEAM who match to records in DPS

   based on ND and ADG, but whose TEAM records show a different SSN4 than is shown

   on DPS. There are 40,922 individuals who appear on DPS with different SSN4s than

   shown on TEAM. If the DPS database is correct and these individuals mark down their

   correct SSN4 on a mail ballot application, then their application will be rejected because

   of incorrectly recorded data in TEAM.




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       a. Subpopulations: Of the 40,922 individuals whose SSN4s listed on TEAM do not

          match the SSN4s listed in the DPS database

               •   14,945 are over age 65

               •   25,795 voted in the 2020 election

               •   10,294 are over 65 AND voted in the 2020 election

               •   100 have FPCA status

               •   110 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with an SSN4 that is inconsistent with the SSN4 listed in

   the DPS database.

26. Typos in DPS ID Numbers. Just as there are discrepancies between the SSNs listed in

   TEAM and the corresponding SSNs listed in DPS, there are also discrepancies in DPS ID

   Numbers. Using the methodology for calculating these discrepancies that was explained

   in my Initial Report, I calculate that 62,461 individuals have a DPS ID Number in TEAM

   that does not match any DPS ID Number in the DPS database.

       a. Subpopulations: Of the 62,461 individuals on TEAM who match to DPS on

          SSN9, ND, and ADG, but have DPS ID Numbers that do not correspond to the

          DPS database,

               •   14,602 are over age 65

               •   27,441 voted in the 2020 election

               •   9,006 are over 65 AND voted in the 2020 election

               •   75 have FPCA status


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                •    359 individuals matched to DPS records indicating homebound status or

                     disabled veteran status.

F. Summary of Results from Updated Analysis

27. To comply with the identification verification requirements in SB 1, registered voters

   who have a DPS ID are instructed to record their ID number on a mail ballot application

   and again when submitting a mail ballot. If they do not have an ID number, they must

   record their SSN4. The analysis from the updated TEAM and DPS files show the

   following:

       a. 189,095 registered voters are not listed in TEAM with a DPS ID, but they do have

           a DPS ID. Official forms instruct these individuals to list only their DPS ID, but if

           they do so, their ballot or ballot application will be rejected.

                i.   Of these, 74,982 are over 65 years old, 28,152 of whom voted in the most

                     recent presidential election.

                ii. Of these, 1,475 have FPCA status or are listed as disabled veterans or as

                     homebound citizens.

       b. 2,394,435 individuals who are listed on TEAM with an associated DPS ID have

           more than one DPS ID Number. If they happen to write down a DPS ID number

           that is correct but is not the DPS ID number recorded in TEAM, their ballot or

           ballot application will be rejected.

                i. Of these, 174,880 are over 65 years old, 91,469 of whom voted in the most

                     recent presidential election.

                ii. Of these, 5,279 have FPCA status or are listed as disabled veterans or as

                     homebound citizens.




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       c. 44,353 individuals have SSN4s listed in their TEAM records that do not match

           the SSN4s listed in the DPS database.

       d. At least 62,461 individuals who are listed on TEAM registration records with a

           DPS ID Number do not show the same DPS ID Number listed in the DPS

           database.

28. Altogether, 2.7 million registered voters in Texas (out of 17.5 million) are at an increased

   risk of having a mail ballot or mail ballot application rejected due to identification

   number requirements in SB 1. These numbers do not include individuals who have

   misplaced or surrendered their IDs or who mis-enter information on a mail ballot form.

   These 2.7 million individuals can correctly fill out their forms, but their applications and

   ballots would be rejected nonetheless.




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